                  EXHIBIT A




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                                                                                                                Rie No.
 STATE OF NORTH CAROLINA                                                                                                              18 CVS
                                                                                                            I
                                                                                                                                               ".111 'Leif
                    Mecklenburg                                                                                     In The General Court Of Justice
                                                    County
                                                                                                                 0 District       p
                                                                                                                               Superior Court Division
Name Of Plaintiff
Chester Taylor III, Ronda and Brian Warlock, et al.
Address                                                                                                           CIVIL SUMMONS
do ROBINSON ELLIOTT & SMITH
                                                                                            • ALIAS AND PLURIES SUMMONS (ASSESS FEE)
at% Soda ZIP
800 East Boulevard, Ste. 100 Charlotte, NC                     •          28203
                            VERSUS                                                                                                         G.S. iA-I, Rules 3 and 4
Name Of Defendant(s)                                                                  Date Original Summons issued
BANK OF AMERICA, N.A.
                                                                                  .   Date(s) Subsequent Summons(es) issued



 To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                       Name And Address Of Defendant 2
Bank of America, N.A., by and through its Registered Agent
CT Corporation System
160 Mine Lake Ct., Ste. 200
Raleigh, NC 27615-6417                                                                                            •
 A Civil Action Has Been Commenced Against You!
 You are notified to appear and answer the complaint Cif the plaintiff as follows:                                                            .
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of Plaintiff's Attorney (if none, Addn3ss Of Raintili)               Date I.5c.1 1 1                     lime
                                                                                                                                         14....0 P ir
                                                                                                                                  1 31 04.
William C. Robinson
ROBINSON ELLIOTT & SMITH                                                              SignatUre I
800 East Boulevard, Ste. 100
                                                                                                                              -
Charlotte, NC 28203                                                   704-343-0061       D.       oylyCSC                   CSC       • Clerk Of Superior Court



                                                                                      Date Of Endorsement                 TIme
 0 ENDORSEMENT (ASSESS FEE)                                                                                                                        AM El PM
    This Summons was originally issued on the date indicated                          Signature
    above and returned not served. At the request of the plaintiff,
    the time within which this Summons must be served is
    extended sixty (60) days.                                                               0 Deputy CSC         0 Assistant CSC      0 Clerk Of Superior Court




 NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION. programs in which most cases where the amount in controversy is $25,000 or
                  less am heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                            so, what procedure 13 10 be followed.




                                                                                  -(Over)
  AOC-CV-700, Rev. 6/16
   201e Administrative Office of the Courts

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(46—   %



                                                                                   RETURN OF SERVICE
            I certify that this Summons and a copy of the complaint were received and served as follows:

                                                                                        DEFENDANT 'I
           Date Served                             Time Sewed                                        Name Of Defendant
                                                                              DAM 0 PM

            El By delivering to the defendant named above a copy of the summons and complaint.
            0 By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
              person of suitable age and discretion then residing therein.
            0 As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
              below.
                  Name And Address Of Person WM Whom Copies Left (if corporetion. give title of person copies left with)




            0 Other manner of service (specify)                                .



            0   Defendant WAS NOT served for the following reason:




                                                                                        DEFENDANT 2
           Date Served                             Time Served                                      Name Of Defendant
                                                                              DAM DAM

            0   By delivering to the defendant named above a copy of the summons and complaint.
            0   By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
                person of suitable age and discretion then residing therein.
            0   As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
                below.
                  Name And Address Of Person With Whom Copies Left (i f corporation, give titre of person copies left with)




           0    Other manner of service (speciM




           0    Defendant WAS NOT served for the following reason:




           Service Fee Paid                                                                         Signature Of Deputy Sheriff Making Return
           $
           Date Received                                                                            Name Of Sheriff awe or pnnt)


           Date Of Return                                                                           County Of Sheriff


            AOC-CV-100, Side Two, Rev. 6/16
            0 2016 Administrative Office of the Courts

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 STATE OF NORTH CAROLINA                          IN THE GENERAL COURT OF JUSTICE
                                                   SUPERIOR COURT DIVISION
 COUNTY OF MECKLENBURG                                  Case No.: I C6 C\ic         Z, (o
   CHESTER TAYLOR HI, RONDA and
   BRIAN WARLICK, LORI MENDEZ,
   LORI IVIARTINEZ, CRYSTAL
   PRICE, JEANETTE and ANDREW
   ALESHIRE, MARQUITA PERRY,                                 COMPLAINT AND DEMAND
   WHITNEY WHITESIDE, KIMBERLY                                  FOR JURY TRIAL
   STEPHAN, KEITH PEACOCK,      •
   ZELMON MCBRIDE,

                                  Plaintiffs,
   V.                                                                                      C=i




                                                                               F
  BANK OF AMERICA, N.A.,                                                                   mom.



                                 Defendant. ;                                              -r•-•

                                                                                    Leo"

        NOW COME the Plaintiffs, by and through undersigned counsel, to file this) Coin-plaint

against Defendant, Bank of America, N.A. as follows:

                                           PARTIES

        1.     Plaintiffs are citizens and residents of New Hanover County, North Carolina; San

Diego County, California; Kern County, California; Wayne County, Michigan; Polk County,

Wisconsin; Maricopa County, Arizona; Stafford County, Virginia; Macomb County, Michigan;

Sacramento County, California; and Clark County, Nevada.

        2.     Defendant, Bank of America, N.A. (hereinafter "BOA"), is a Delaware

Corporation, with its principal place of business located at 101 S. Tryon Street, Charlotte, North

Carolina.

                                JURISDICTION and VENUE




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          3.      The Court has personal jurisdiction of the Defendant under N.C. Gen. Stat. §1-

                  75.4.

    •     4.      The Court has subject matter jurisdiction under, inter alio., N.C. Gen. Stat. § 7A-

 240. The amount in controversy is in excess of $25,000 under N.C. Gen. Stat. § 7A-243..

         5.       Venue, in this Court over this cause, is proper under N.C. Gen. Stat. § 1-80.

                               GENERAL FACTUAL ALLEGATIONS

         6.       This complaint chronicles the fraudulent scheme exacted by BOA on homeowners

 seeking Home Affordable Modification Program ("HAIVIP") modifications. Plaintiffs were

 victims of this fraud.

         7.       In late 2008 and early 2009, the United States Government provided a total of $45

 billion dollars to BOA pursuant to the Troubled Asset Relief Program ("TARP"). It also extended

to BOA an additional guarantee of over $100 billion dollars. Having concluded that the costs of

allowing BOA to fail were too high, the U.S. Government decided taxpayers would save the life

of BOA, and they did)

         8.      As the Congressional Oversight Panel ("Panel") described it, "almost overnight"

U.S. taxpayers provided to several large financial institutions, including BOA, an infusion of over

$200 billion dollars.' This massive bailout allowed the continued existence of several institutions

including BOA.

                 - BOA Agrees to the Home Affordable Modification Program
                      ("HAMP") in Exchange for Billions from Taxpayers




I United States Department of Treasury, Troubled Asset Relief Program Transactions Report, ("Treasury
Transaction Report"), available at: https : //maw. treasury. gov/initiatives/financial-
stability/reports/Pages/default.aspx
2 Congressional Oversight Panel, The Final Report of the Congressional Oversight Panel, March 16, 2011, ("Final
Report"), available at http://www.senate.govigenerallcornmon/generic/COpiedirect.htm.

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          9.       Because the stated purpose of the financial bailout was to help the American

 people, HAMP was implemented in March of 2009 to assist the millions of American

 homeowners facing foreclosure. •

          10.     Knowing all eyes were on it and the billions of dollars it had been given by the

 government, on April 17, 2009, BOA, the nation's largest mortgage servicer, signed. a "Servicer

 Participation Agreement" (the "Agreement" or "HAMP Agreement") with the Federal

 Government requiring it to use "reasonable efforts" to "effectuate any modification of a mortgage

 loan under the Program." See Exhibit 1 at Sec. 2A. .

          11.     BOA signed the Agreement in exchange for a commitment by the Federal

 Government to provide BOA hundreds of millions of taxpayer dollars for its promise and

 obligation to comprehensively provide HAMP screening for all homeowners serviced by BOA.3

         12.      Once approved for HAMP modification, a homeowner who agrees to participate

typically begins a three-month Trial Payment Period during which mortgage payments are made

under the terms of the modification. If timely payments are made during those three months (i.e.,

not more than 30 days overdue during any month), the homeowner must be offered a permanent

modification, with the terms in effect during the Trial Payment Period extended for 5 years. -

         13.     After a homeowner completes a period of 5 years under the terms of the

modification, lenders may increase the interest rate on the loan by 1% annually up to • the

prevailing Freddie Mac interest rate at the time the modification was made.

         14.     The Agreement indicates that BOA "shall perform the services for all mortgage

loans it services, whether it services such mortgage loans for its own account or for the account

of another party," and "shall use reasonable efforts to remove all prohibitions or impediments to



3 Treasury.Transaction   Report at 27.

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 its authority, and use reasonable efforts to obtain all third-party consents and waivers that are

 required, by contract or in law, in order to effectuate any modification of a mortgage loan under

 the Program." See Exhibit 1 at Sec. 2A. Servicers, including BOA, received incentive payments

 to complete HAMP modifications and, in March 2010, the incentive was increased to S2,000.00.

                   BOA Develops and Orchestrates a Fraudulent Scheme to Avoid
                        HAMP Modifications in Order to Increase Profits

           15.     Despite signing the Agreement and accepting billions of dollars, BOA knew

 conforming to the requirements of the Agreement in providing screening for HAMP applications. •—•
       c
and accepting homeowners who meet the requirements would cost the bank millions of dollars.

           16.     For that reason, instead of honoring its contract with the Federal Government to,

in good faith, help as many distressed homeowners as possible, it made a calculated decision.

BOA decided to permit just enough HAMP modifications to occur to create a defense (however

untenable) against Federal Government agencies, Congressional skeptics and the public that it

was making best efforts to comply with its Agreement. Simultaneously, however, BOA chose to

develop secretive business practices designed to intentionally prevent thousands of eligible

applicants from receiving permanent HAMP modifications.

                         Former BOA Employees Sign Sworn Declarations
                            Outlining the Fraudulent HAMP Scheme

           17.     Only after Plaintiffs retained their attorneys in this matter did Plaintiffs learn of

the facts contained in this section and in the sworn declaration of former BOA employees..

Plaintiffs did not know and could not have reasonably discovered these facts until they retained

their attorneys.

           18.   According to the February 22, 2017, Declaration of Rodrigo Heinle, (Exhibit 2)

who worked for BOA in Charlotte, North Carolina from 2011 through 2012:



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             a. Bank of America employed a common strategy of delaying HAMP applications.
                Delay was achieved using tactics including claiming that documents were
                incomplete and/or missing when they were not, or simply claiming files were
                "under review" when they were not.

             b. Homeowner applications were routinely shredded with no review by Bank of
                America and at times taken home by managers in order to conceal the fact they
                had been received by Bank of America.

             c. Upon the instruction of my manager Jamal Brown, and other managers. I deleted
                thousands of homeowner HAMP application files from Bank of America computer
                databases, as many as six thousand (6,000) in one day.

       19.       According to the June 5, 2013 Declaration of William E Wilson, Jr.; (Exhibit 3)

who worked for BOA in Charlotte, North Carolina from 2010 through 2012:

             a. Individual BOA employees were given "approximately 400 HAMP files" at any
                       given time.

             b. "Though BOA required that applicants immediately provide financial documents,
                often on short notice, the bank intentionally allowed these documents to sit for
                months without ever reviewing them."

             c. Bank of America instructed its employees to employ a common strategy of
                delaying HAMP applications, "claiming that documents were incomplete or
                missing when they were not, or simply claiming the file was 'under review' when
                it was not." This delay tactic allowed BOA to falsely claim homeowners had not
                provided the required documentation when in fact, the homeowner had sent in
                documents months earlier, often multiple times, and had made payments under a
                Trial Payment Period plan, but had not gotten a permanent modification or even a
                decision regarding their modification.

             d. Next, BOA regularly employed a procedure called a "blitz." "Approximately
                twice a month, BOA ordered case managers and underwriters to 'clean out' the
                backlog of HAMP applications by denying any file in which the financial
                documents were more than 60 days old. These included files in which the
                homeowner had provided all required financial documents and fully complied with
                the terms of a Trial Period Plan" and was entitled to a HAMP modification. -

         e. "During a blitz, a single team would decline between 600 and 1,500 modification,
            files at a time for no reason other than that the documents were more than 60 days
            old. BOA instructed its employees to enter into its computer systems a reason that
            would justify declining the modification to the Treasury Department. The
            justifications commonly included claiming that the homeowner had failed to return



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                  requested documents or had failed to make payments. In reality, these
                  justifications were untrue." .

              f. The "homeowners, who did not receive the permanent HAMP modification they
                  were entitled to, ultimately lost their homes to foreclosure."                        ••

        20.       According to the May 23, 2013 Declaration of former BOA Senior Collector of

 Loss Mitigation employee, Simone Gordon (Exhibit 4):

              a. Employees were given quotas for placing a specific number of accounts into
                   foreclosure, including accounts in which the borrower fulfilled a HAMP Trial
                   Period Plan. Employees who met quotas for placing "ten or more accounts into
                   foreclosure in a given month received a: $500 bonus. Bank of America also gave
                  employees gift cards to retail stores like Target or Bed Bath and Beyond as rewards
                 •for placing accounts into foreclosure.".

              b. And that .Employees were closely monitored by BOA "Team Leaders and Site
                 Leaders who walked the call room floor throughout the day wearing headsets that
                 they would use to plug in and listen into a call without warning. Employees who
                 were caught not carrying out the delay strategies that BOA instituted were subject
                 to discipline and termination."

             c. "Employees who were caught admitting that BOA had received . financial
                documents or that the borrower was actually entitled to a permanent loan
                modification were disciplined and often terminated without warning."

       21.       According to- the May 15, 2013 Declaration of former BOA collection employee,

Theresa Terrelonge (Exhibit 5):

             a. BOA "was trying to prevent as many homeowners as possible from obtaining
                 permanent HAMP loan modifications while leading the public and the government
                 to believe that it was making efforts to comply with HAM?. It was well known
                 among managers and many employees that the overriding goal was to extend as
                 few HAMP loan modifications to homeowners as possible."

          .b.     BOA employees "were called into group meetings with our supervisors on a
                regular basis. The information we received in group meetings showed .me that
                Bank of America's deliberate practice was to string homeowners along with no
                intention of providing permanent modifications. We were instructed to inform
                every homeowner who called in that their file was "under review" - even where
                the computer system showed that the file had not been accessed in months or when
                the homeowner had been rejected for a modification."




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              c. BOA employees "were instructed to inform homeowners that modification
                 documents were not received on time, not received at all, or that documents were
                 missing, even when, in fact, all documents were received in full and on time."

              d. She "witnessed employees and managers change and falsify information in the
                  systems of record, and remove documents from homeowners' files to make the
               .. account appear ineligible for a loan modification. This included falsifying
                  electronic records so that the records would no longer show that the homeowner
                  had sent in required documents or had made required payments. This was done so
                  that the file could be closed, the homeowner's effort to obtain a loan modification
                  could be rejected, and the manager could meet Bank of America's production goal
                  for the given week or month."

              e. She also observed that "Bank of America often avoided extending 'HAMP
                 modifications by sending non- HAMP modifications to homeowners who had
                 applied for a HAMP modification. - These non- HAMP modifications. were
                 typically on worse terms for the homeowner than what they were eligible to.
               . receive under HAMP - but they were at higher interest rates and more profitable
                 for Bank of America. I fielded dozens of calls from homeowners who had waited
                 months for a HAMP modification and were confused, and often in tears, when
                 they received a modification that appeared nothing like what they were led to
                 expect."

       22.       According to the May 13, 2013 Declaration of former BOA underwriter Steven

Cupples (Exhibit 6):        .

             a: "Bank of America retained- outside vendors to manage the documents being sent
                 to and received from borrowers applying for HAMP modifications. Urban Lending
                 Solutions was one of the vendors tasked to receive and upload financial documents
                 from borrowers." Mr. Cupples "quickly realized that if the loan had documents
                .that were sent to Urban, those documents would be scattered over various links in
                 the computer systems. The documents were present, but they often could not be
                 viewed using a single system. An underwriter would need to know to go to other
                 systems such as I:PORTAL, LMA, LMF, or HomeSaver to review documents the
                 borrower had sent. Most underwriters did not know that they needed to look for
                 documents in multiple systems and often assumed documents had not been sent.
                 As a result, many borrowers were declined loan modifications they should. have
                 received;"

             b. Mr. Cupples "observed that Bank of America reported to the Treasury Department
                 and made public statements regarding the volume of loans it was successfully
                 modifying, and the efforts it was making to catch up with the volume. Often this
                 involved double counting loans that were in different stages of the modification
                 process. It also involved counting loans that were entitled to modifications as
                 having been modified - only to foreclose on those same loans later. It was well

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                known among Bank of America employees that the numbers Bank of America was
                reporting to the government and to the public were simply not true."

         23.    BOA and its agents never properly hired, trained, or equipped a workforce to
                                                        S.


 handle its obligation to provide HAMP modifications to the customers whose mortgages it

 serviced. -

         24.    BOA contracted with Urban Lending Solutions, ("Urban") to handle a variety of

services relating to its participation in HAMP under the Agreement.

         25. ' Urban is a privately held company based in Pittsburgh, providing services to the

mortgage industry. On its website, Urban indicates it is an industry leader in providing "a wide

variety of outsourced services to its clients including mortgage fulfillment services, home

retention solutions, appraisals and valuation services, title and settlement services, document

fulfillment, call center and collection services."

        26.    However, the processes and procedures employed by BOA and Urban were

diametrically opposed to the intent and purpose of HAMP, and Urban .agreed and conspired to

frustrate HAMP applicants.

        27.    As part of its complex scheme to defraud the Federal Government and taxpayers,

BOA folded Urban employees into its HAMP operations and gave these employees misleading

BOA titles. To the outside world of homeowners and regulators, Urban's workforce appeared

indistinguishable from BOA's own employees and BOA's customers reasonably relied on

Urban's employees as if they were BOA employees or agents.

        28.    BOA used this workforce to solicit and direct homeowners to return documents,

via FedEx to Urban. HAMP modification applicants sent hundreds of thousands of FedEx

packages to Urban. Urban hired scores of employees to accept and scan millions of pages of

original documents, including homeowner financials, to be saved on the Urban Portal.

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 Unfortunately for the applicants, as explained in this Complaint and declarations by former BOA

 employees, the Urban Portal was designed to be and became a "black hole" for all those

 documents.

         29.      BOA's fraudulent scheme worked as intended. A January 27, 2017 Inspector

 General Report to Congress found BOA "[w]rongfully denying homeowners admission into

 HAMP" and "denied 79% of all who applied for HAMP" concluding in its report to Congress

 that "[t]his should be unacceptable given that Bank of America has already received about $2

 billion from [the] Treasury for HAMP." Exhibit 7.                                          ..• •

           U.S. Department of Justice Sues BOA for the Fraudulent HAMP Scheme

         30.     Servicers, including BOA, received incentive payments to complete HAMP

modifications and in March 2010, the incentive was increased to $2,000.00. Accordingly, the

incentive for BOA to fraudulently report completed HAMP modifications is clear.

         31.     In a lawsuit by the Federal Government against BOA in the Eastern District of

New York, initiated by a whistleblower, BOA agreed to pay back $1 billion under the Federal

False Claims Act. U.S. v. Bank of America NA et al., case number 1:11-cv-03270, (E.D.N.Y.)

The August 2014 settlement also included BOA agreeing to "pay $7 billion in relief to struggling

homeowners, borrowers and communities affected by the bank's conduct."4

                   Class Action Claims Denied in Favor of Individual Claims

        32.      The Multi District Litigation case In re Bank of America Home Affordable

Modification Program (HAW') Contract Litigation, M.D.L. No. 10-2193—RWZ was filed in




4 August 21, 2014, U.S. Justice Department News Release dated August 211 2014. ("Justice Department News
Release"), available at https://www.justice.gov/opa/pr/bank-america-pay-1665-billion-historic-justice-department
settlement-financial-fraud-leading.

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 2011 and included class action cases from across the country. In denying class certification of

 the multi-district class, the Massachusetts District Court concluded:

         This case demonstrates the vast frustration that many Americans have felt over the
        mismanagement of the HAMP modification process. Plaintiffs have plausibly
         alleged that Bank of America utterly failed to administer its HAMP modifications
        in a timely and efficient way; that in many cases it lost documents, or pretended it
        had not received them, or arbitrarily denied permanent modifications. See Third
        Am. Compl., 1J 135-473 (describing the different experiences of each named
        plaintiff). Plaintiffs' claims may well be meritorious; but they rest on so many
        individual factual questions that they cannot sensibly be adjudicated on a.
        classwide basis. Because plaintiffs have failed to meet the predominance and
        superiority requirements of Rule 23(b)(3), their motion for class certification
        (Docket # 208) is DENIED. Goldman v. Bank of America1 NA, et al., 2013 WL
        4759649. Exhibit 8.

        33.    It is now up to individual borrowers to file individual lawsuits to recover damages

resulting from the systematic fraudulent practices of BOA with regard to HAMP.

                              FACTUAL ALLEGATIONS
                         PLAINTIFF # 1 CHESTER TAYLOR, 1:11

       34.     Plaintiff is a citizen New Hanover County, North Carolina, residing at 330

Causeway Drive, Wrightsville Beach, North Carolina.

       35.     On June 16, 2005, Plaintiff, Chester W. Taylor DI, executed a mortgage and note

for his home located at 608 Spencer Farlow Drive, Carolina Beach, North Carolina, in the amount

of $196,875.00, with regular monthly payments of $1,406.14. The lender was Bank of America.

       16.    Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan

was Assigned number: (redacted but known to BOA and available by request).

       37.    After experiencing financial hardship, due in part to the state of the economy,

Plaintiffs contacted BOA by phone in February 2010 requesting a HAMP modification.

       38.    Although default was imminent, at all relevant times, Plaintiff had viable and

reasonable alternatives to foreclosure including but not necessarily limited to or alternative
       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 13 of 177
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 financing that were eliminated as a direct and proximate cause of Defendant's wrongful acts

 alleged in this Complaint.

                False Statements of Fact Concerning HAMP Eligibility by Defendant

        39.     On or about February 1,2010, BOA loan representative, Michael Sanchez, advised

 Plaintiff by phone to refrain from making his regular mortgage payments. Michael Sanchez

 specifically told Plaintiff he "had to be two to three months behind" on his mortgage loan•to be

 eligible for a HAMP modification and directed Plaintiff to refrain from making mortgage

payments if he wanted to-obtain a HAMP modification. Relying on Michael's statement, Plaintiff...

remained in default and/or stopped malcing regular Monthly mortgage payments. Plaintiff was

told to remain in default and/or to stop making regular monthly mortgage payments on more than

one occasion throughout the application process. Although the Plaintiff did not know it until he

contacted an attorney in December 2016, this statement was false as default was not required for

HAMP eligibility. BOA loan representative, Michael Sanchez, omitted the fact that eligibility

was available for HAMP to borrowers if default was reasonably foreseeable. Sanchez told

Plaintiff this false information as part of BOA's scheme, as outlined above, and in an .effort to

prevent him from receiving a HAMP modification.

       40.    BOA representative Michael Sanchez knew the statement was false when made

and intentionally omitted that only imminent default was required for HAMP eligibility. The

statements and omission were made to induce the Plaintiff to rely on them. The statements were

specifically designed by BOA to set Plaintiff up for foreclosure, so BOA could benefit by, inter

alia, receiving HAMP payments and acquiring the Plaintifrs home by foreclosure. Plaintiff

believed he was required to be in default on his mortgage because this is what BOA employees




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 told him and was misled into believing that fact because the fact•that only imminent default was

 required was intentionally omitted.

        41. - Relying on the false statement and omission, Plaintiff refrained from making his .

 regular mortgage.payment and fell into default status. Thereafter, Plaintiff made HAMP

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiff's default status as an

excuse to refuse to apply these payments to Plaintiffs account. BOA's actions resulted inturther -

default and foreclosure .of Plaintiff's home. Plaintiff lost his home, the equity in his home and

money paid as trial payments as. a direct result of BOA's fraudulent -statements. of fact. BOA

profited by retaining Plaintiffs trial payments and foreclosing on Plaintiff's home.

        42.     Plaintiff did not know, and could not have reasonably discovered, that these •

statements were false until he retained his attorneys in this matter in December 2016, nor could

Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

Complaint until he retained his attorneys. Plaintiff reasonably relied on the statements of

Defendant's employees that Plaintiff must be in default in order to qualify for HAMP. Plaintiff

contacted Defendant repeatedly throughout this process to. ensure proper compliance with

HAMP's requirements, 'and there were no resources reasonably available to a non-attorney

borrower such as Plaintiff to contradict Defendant's false statements.

        False Statements of Fact Concerning Plaintiff's HAMP Application by Defendant


       43.      In March 2010, BOA provided Plaintiff a HAMP application and he properly

completed the application and returned it to BOA with the requested supporting financial

documents. BOA employee, Michael Sanchez, confirmed receipt of his documents via fax on

May 26, 2010.



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            44.     However, as part of BOA's fraudulent scheme, on August 6, 2010 Plaintiff was

     falsely informed by BOA employee Michael Sanchez, that his documents were "not current." The .

    same or similar statements were made im• subsequent phone calls with BOA employees. For

    example, on October 1, 2010, BOA employee Michael Sanchez falsely informed Plaintiff his

    documents were 'Incomplete." On November 7, 2010, BOA employee Lennie falsely informed

•   Plaintiff his documents "were missing." Michael Sanchez, Lennie; and other BOA employees

    knew these representations were false and this practice was policy and procedure at BOA. See

    Exhibits 2. 3.4. 5 and 6.

           45.     These false statements were made by BOA employees, Michael Sanchez, Lennie,

    and others for the purpose of inducing Plaintiff to resend his modification application over and

    over in order to frustrate the application process.

           46.     These misrepresentations were made to Plaintiff by BOA representative's Michael

    Sanchez, Lennie, and others, not for the purpose of processing Plaintiff's application in good

    faith; but instead for the specific purpose of frustrating the HAM!" application process to ensure

    a modification was ultimately declined, resulting in foreclosure. BOA employees knew these

    statements were false and some employees were awarded cash incentives as well as restaurant

    and retail gift cards for meeting quotas for declining modification applications in a given day or

    week. See Exhibits 2. 3. 4. 5 and 6. In fact, Plaintiff's applications were intentionally lost within

    BOA' s databases or destroyed in order to prevent Plaintiff from receiving a HAMP modification..

           47.     Plaintiff believed these statements were true, relied on them, and as a result,

    unnecessarily resubmitted his application and supporting information via U. S. Mail, fax, and

    Federal Express more than thirty (30) times. As a direct result, Plaintiff was damaged and




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 suffered a loss of the costs and time spent sending and resending their -HAMP application on

 multiple occasions when BOA had no intention of reviewing it.

   .     48. • Plaintiff did not know, . and could not have reasonably discovered, that these

 statements were false.until he retained his attorneys in this matter in December 2016. Plaintiff .

 reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application -

 was not complete. Plaintiff contacted Defendant -repeatedly throughout this process to ensure. .

 proper compliance with HAMP as evidenced by his repeated submission of the application, .and

there were .no resources reasonably available to a non-attorney borrower such as. Plaintiff .to .

 contradict Defendant's false statements. Michael Sanchez, Lennie, and others falsely told.

Plaintiff that his application was not current or missing, even though the application was proper

and complete, to further the scheme to delay the HAMP modification to ultimately deny it.

Defendant's subsequent false 'statement on March 1, 2010 that the HAMP application was

approved also caused Plaintiff to believe that these submissions were incomplete.

        49.    By making these misrepresentations, BOA profited by avoiding the administrative

costs of a good faith processing of Plaintiff's modification application as was required under the

Agreement the bank executed with the Federal Government See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiff's property..

          False Statements of Fact of Approval and Request for Trial Payments by BOA

       50.     On March 1, 2010 BOA sent Plaintiff a letter stating his application was

"approved" and requested he make "trial payments" in the amount of $371.99 pursuant to the

Federal Government's Home Affordable Modification Program. This was false as the application

wasn't approved. Instead, BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.


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         51.    This false statement of fact and intentional omission was intended to cause

 Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

 processing his HAMP application, but to cause Plaintiff to send trial payments so BOA •could

 retain .those funds in an unapplied account for profit after foreclosure or apply the funds to

 fraudulent inspection and other fees the bank charged. See Exhibits 2, 3, 4, 5 and 6.

        52: : It was and is BOA's practice to placetrial period payments... into an unapplied

 account until" BOA made a decision on the borrowers' HAMP application. See July 20, 2016

Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6),.Noelia Ramirez

v. Bank of America, NA., Hillsborough County File No.: 16-CA-722. BOA employees

fraudulently omitted this fact when requesting the Plaintiff make trial payments. .

        53.    Relying on BOA's misrepresentations, Plaintiff made fourteen (14) payments of

more than $371.99, in 2010 and 2011, hoping to save his home. Further, as a direct result of

relying on BOA's misrepresentations and intentional omissions, on September 25, 2012,

Plaintiffs home was foreclosed by BOA, NA. As a result of the foreclosure, a judgment in the

amount of $117,130.00 was entered against Mr. Taylor. Plaintiff filed bankruptcy as a result of

the foreclosure on October 5, 2012. Then, on December 29, 2014, Plaintiff was forced to •short

sale his home. Plaintiff moved out of his home in 2014.

       54.     Plaintiff suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account and refused to credit his account, the loss of his home

and the equity in that home, as well as damage to his credit and the loss of some or all of the funds

paid to BOA for trial payments.

       55.     By making these misrepresentations, BOA profited by retaining Plaintiffs trial

payments for profit. BOA further profited by forcing Plaintiffs into foreclosure and avoiding the


       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 18 of 177
Pagel 15
 administrative costs of a good faith processing of Plaintiff's modification application as was

 required under the Agreement the bank executed with the Federal Government. See Exhibit 1 at

 Sec. 2A. BOA also profited since Plaintiff expended time and money and lost the opportunity to

 pursue. other loss mitigation options reasonably available to Plaintiff to prevent foreclosure like

 alternative financing while awaiting BOA's decisiqn hn the modification application. Plaintiffs

 lost opportunity was a direct and proximate cause of the subsequent foreclosure from which

Defendant benefited, as set forth herein.

        56.     Plaintiffs did. not know and could not have reasonably discovered that the

statements herein were false and/or that his trial payments were not applied to.his account until

he retained his. attorneys in this matter in December 2016. Plaintiff contacted • Defendant

repeatedly throughout this process to ensure proper compliance with HAMP as evidenced by his

repeated submission of the application and repeated contact with Defendant, and there were no

resources reasonably available to a non-attorney borrower such as Plaintiff to contradict

Defendant's false statements.

                Fraudulent Omission of the Application of Inspection Fees by BOA

       57.     Despite the fact that Plaintiff lived- in .his home until 2013, BOA charged their -

account for a "Property Inspection" on fifteen (15) occasions from 2010 to 2012, all while he was.

living in the home. More specifically, he was charged for a Property Inspection fee on May 28,

2010, July 1, 2010, November 3, 2010, May .30, 2011, and various other occasions with the last

fee being on March 29, 2012. These.inspection fees are impermissible under.the HUD Servicing

Guidelines and are but one example of the fraudulent charges for which BOA-applied to Plaintiff's

account and added to the foreclosure judgment amount.




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             58.    BOA committed common law fraud upon Plaintiff when throughout the HAMP

    application process BOA employees omitted the fact that the bank was conducting unnecessary

    and improper inspections on his home and charging his account inspection fees.

            59..: BOA committed common law fraud upon Plaintiff -when the bank requested he

. make trial payments during the HAMP application and omitted the fact that it had no intention of

   approving .the application and intended to apply some of the funds sent. by Plaintiff for trial

   payments to fraudulent inspection fees.

••••• • •   60..   The fraudulent omission of the bank's practice of applying trial-payments to

   continuing inspection fees mislead the Plaintiff into believing his trial payments would be applied

   to his mortgage and were for the purpose of final approval of his HAMP application. BOA had

   a duty inform Plaintiff of this practice and intentionally refused to do so.

            61.    As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

  trial payments he believed were for final approval of his HAMP application. BOA profited by

  charging Plaintiff's account for the inspection fees and applying some of the trial payments

  received from Plaintiff and retaining those funds for profit.

            62.    Plaintiff did not know the inspections were taking place, nor did he know that he

  was being charged for these inspections. Even if Plaintiff could have known about the inspections

  or the charges, he did not know and could not .have known that the inspections and consequent -

  charges were not permitted and were unlawful.

            63.    Plaintiff did not know and could not have reasonably discovered that BOA was •

  charging improper inspection fees and diverting a portion of his trial payments to pay those fees • •

  until he retained his attorneys in this matter in December 2016.




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         64.    Upon information and belief, BOA further profited by using Plaintiff's HAMP

• application to make false claims for incentive payments to the United State Department of

• Treasury in the amount of $1,000.00 or $2,000.00; effectively using Plaintiff as a pawn to defraud

 the Federal Government. U.S. v. Bank of America NA et al., case number 1:11-cv-03270,

 (E.D.N.Y.).

                               FACTUAL ALLEGATIONS       -
                        PLAINTIFFS #2 RONDA & BRIAN WARLICK

        65.     Plaintiffs, Ronda and Brian Warlick, are citizens of San Diego County,

 California, residing at 9272 Briette Place, El Cajon, California.

        66.    On March 9, 2006, Plaintiffs executed a mortgage and note for their home located

 at 9272 Briette Place, El Cajon, California in the amount of $552,000.00 with regular monthly

 payments set at $3,162.50. The lender was GreenPoint Mortgage Funding, Inc.

        67.     Subsequently, BOA began servicing the mortgage and the loan was assigned

 number: (redacted but known to BOA and available by request).

        68.    After experiencing financial hardship, due in part to the state of the economy,

Plaintiffs contacted BOA by phone in May 2009 requesting a HAMP modification.

        69.    Although Plaintiffs were in imminent default, at all relevant times, they had viable

and reasonable alternatives to foreclosure including but not necessarily limited to a short sale,

deed in lieu of foreclosure, or alternative financing that were eliminated as a direct and proximate

cause of Defendant's wrongful acts alleged in this Complaint.

               False Statements of Fact Concerning HAMP Eligibility by Defendant

       70.     On or about May 15, 2009, a BOA loan representative advised Plaintiffs by phone

to refrain from making their regular mortgage payments. This BOA representative specifically

told Plaintiff being "past.due" and "in default" on their mortgage loan was a prerequisite for a

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    HAMP modification eliiibility.5 Relying on this statement, Plaintiff remained in default and/or

    stopped making regular monthly mortgage payments. Plaintiff was told to remain in default and/or

    to stop making regular monthly mortgage payments on-more than one occasion throughout the

    application process. Although the Plaintiffs did not know it until they contacted an attorney in

    January 2017, this statement was false as default was not required for HAMP eligibility. This

    BOA loan kepresentative, omitted the fact that eligibility was available for HAMP to borrowers if

    default was reasonably foreseeable. Plaintiffs were told this false information as part of BOA' s

    scheme, as outlined above, in an effort. to prevent them from receiving a RAMP. modification.

           71.    This BOA representative knew the statement was false when made and

intentionally omitted that only imminent default was required for HAMP eligibility. The

statements and omissions were made to induce the Plaintiffs to rely on them. The statements

were specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by,

inter alia, receiving HAMP payments and acquiring the Plaintiffs' home by foreclosure.

Plaintiffs believed they were required to be in default on their mortgage because this is what BOA

employees told them and were misled into believing that fact because the fact that only imminent

default was required was intentionally omitted.

          72.     Relying on the false statement and omission, Plaintiffs refrained from making their

regular mortgage payment and fell into default status. Thereafter, Plaintiffs made HAMP trial

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiffs' default status as an

excuse to refuse to apply these payments to Plaintiffs' account. BOA's actions resulted in further

default and foreclosure of Plaintiffs' home. Plaintiffs lost their home, the equity in their home



5 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.
       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 22 of 177
Pagel 19
    and money paid is trial payments as a direct result ofBOA's fraudulent statements of fact. BOA

    profited by retaining Plaintiffs' trial payments and foreclosing on Plaintiffs' home.

            73.   :Plaintiffs did not know, and could not have reasonably discovered, that these

    statements were false until they retained their attorneys in this matter in January 2017 nor could.

    Plaintiffs know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

    Complaint until they retained their attorneys. Plaintiffs reasonably relied on the statements of'

    Defendant's employees that Plaintiffs must be in default in order to qualify for HAMP. Plaintiff.

    contacted Defendant repeatedly throughout this process :to. ensure proper compliance with

    HAMP's requirements, and there were no resources reasonably available to a non-attorney.. .

    borrower such as Plaintiffs to. contradict Defendant's false statements.


        False Statements of Fact Concerning Plaintiffs' RAMP Application by Defendant


           74.    On or around July 2009 BOA provided Plaintiffs a HAMP application and they

properly completed the application and returned it to BOA with the requested supporting '

financial documents.

           75.    However, as Part of BOA's fraudulent scheme, on or between August 1, 2009 and

June 15, 2010, Plaintiffs were falsely informed by multiple BOA employees that the documents

were "not received," were "incomplete," or were "not current."6 The same or similar statements.

were made on subsequent phone calls with BOA employees. For example, On January 15, 2014

BOA employee Susan Rusater, falsely told plaintiffs that their "tax returns were not received".

This was false, as Plaintiffs had resent their tax returns on more than two (2) occasions, both of.

which were received by BOA. Susan Rusater and other BOA employees knew these


6 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SlEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.

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 representations were false and this practice was policy and procedure at BOA. See Exhibits 2, 3,

 4g   5 and 6. In fact, Plaintiffs' applications were intentionally lost within BOA' s databases or

 destroyed in order to prevent Plaintiffs' from receiving a HAMP modification.

          76.    These false statements were made by BOA employees, including Susan Rusater,

 and others for the•purpose'of inducing Plaintiffs to resend their modification application over and

 over in order to frustrate the application process. •

          77.    These misrepresentations .were made to Plaintiffs by BOA representative Susan

 %seer, and others, not for the-purpose of processing Plaintiffs' application in good faith, but •

 instead for the specific purpose of frustrating the HAMP application process .to ensure a

 modification was -ultimately declined, resulting in foreclosure. BOA employees knew :these

 statements were false and some employees were awarded cash incentives as well as restaurant

 and retail gift cards for meeting quotas for declining modification applications in a given day or

 week. See Exhibits 2. 3, 4. S and 6. In fact, Plaintiffs' applications were intentionally lost within

BOA' s databases or destroyed in order to prevent Plaintiffs from receiving a HAMP modification.

         78.    Plaintiffs believed these statements were true, relied on them, and as a result,

•unnecessarily resubmitted their application and supporting information via U. S. Mail, fax, and

Federal Express more than eight (8) times. As a direct result, Plaintiffs were damaged and

suffered a loss of the costs and time spent sending and resending their HAMP application on

multiple occasions when BOA had no intention of reviewing it.

         79.    Plaintiffs did not know, and could not have reasonably discovered, that these

statements were false until they retained their attorneys in this matter in January 2017. Plaintiffs

reasonably relied on the statements of Defendant's employees that Plaintiffs' HAMP application

was not complete. Plaintiffs contacted Defendant repeatedly throughout this process to ensure



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 proper compliance with RAMP as evidenced by their repeated submission of the application, and

 there were no resources reasonably available to a non-attorney borrower such as Plaintiff to

 contradict Defendant's false statements. BOA representative Susan Rusater and others falsely

 told Plaintiffs.that their application was not current or znisiing, even though the application was

 proper and complete, to furthei the scheme to delay the HAMP modification to ultimately deny

 it. Plaintiff continued to apply for a HAMP modification after BOA filed a Notice of Intent of

 Foreclosure. Defendant's subsequent false statement on October 26, 2009 that .the HAMP

 application was.approved also caused Plaintiffs to believe that these . submissions -were

incomplete.

        80.     By making these rriisreforesentations. BOA profited by avoiding the administrative

costs of a good faith processing of Plaintiffs' modification application as was required under the

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiffs' property.

          False Statements of Fact of Approval and Request for Trial Payments by BOA

        81.    On October 26, 2009, BOA sent Plaintiffs a letter stating their application was

"approved" and requested they make "trial payments" in the amount of $2,283.67 pursuant to the

Federal Government's Home Affordable Modification Program. This was false as the application

wasn't approved. Instead, BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.

       82.     This false statement of fact and intentional omission was intended to cause

Plaintiffs to make trial payments to BOA, not for the purpose of compliance with HAMP or

processing their HAMP application, but to cause Plaintiffs to send trial payments so BOA could




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 retain those funds in an unapplied account for profit after foreclosure or apply the funds to

 fraudulent inspection and other fees.the bank charged. See Exhibits 2. 3. 4. 5 and 6.

  •      83:    It was and is BOA's practice to place "trial period payments.. ..into an unapplied

 account until" BOA made a decision on the borrowers' RAMP application. See July 20, 2016

 Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6), Noelia Ramirez.. •

- v. Bank- of America, NA., Hillsborough County File .No.: 16-CA-722. BOA employees

 fraudulently omitted this fact when requesting the Plaintiffs make trial payments.

        84.    •Relying on BOA's misrepresentations, Plaintiffs made nine (9) payments of than

 $2,283.67, in 2009 and 2010, hoping to save their home. Further, as a direct result of relying on

BOA's misrepresentations and intentional omissions, on September 2, 2011, Plaintiffs received a

Notice Of Foreclosure from Recontrust on behalf of BOA. As a result, and as to avoid losing the

home to foreclosure, Plaintiffs filed bankruptcy on September 21, 2011.

        85.    Plaintiffs reapplied for a HAMP modification two more times in 2011 and 2014,

but BOA denied Plaintiffs' applications.

        86.    Plaintiffs suffered damages in the amount of the trial payments when BOA placed

those paymentsin an unapplied account and refused to credit their account, filing bankruptcy to .

avoid losing their home and the equity in that home, as well as damage to their credit and the loss

of some or all of the funds paid to BOA for trial payments.

       87.     By making these misrepresentations, BOA profited by retaining Plaintiffs' trial

payments for profit. BOA further profited by forcing Plaintiffs into foreclosure and bankruptcy

and avoiding the administrative costs of a good faith processing of Plaintiffs' modification

application as was required under the Agreement the bank executed with the Federal Government.

See Exhibit I at Sec. 2A. BOA also profited since Plaintiffs expended time and money and lost



Page I 23Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 26 of 177
 the opportunity to pursue other loss mitigation options reasonably available to Plaintiffs to prevent

 foreclosure, or alternative financing while awaiting BOA's decision on the modification

 application. Plaintiffs lost opportunity was a direct and proximate cause of the subsequent notice •

 foreclosure.from which Defendant benefited, as set forth herein.

        88. . • Plaintiffs did. not .know and could not -have reasonably discovered that, the

 statements herein were false .and/or that their payments were not applied to their account until

they retained their attorneys in this matter in January 2017. Plaintiffs contacted Defendant

repeatedly throughout this process to ensure proper compliance with HAMP-as evidenced by.his

repeated submission of-the application and repeated contact with Defendant, including reapplying.

for a HAMP modification in 2011 and 2014, and there were no resources reasonably available to

a'non-attorney borrower such as Plaintiff to contradict Defendant's false statements.

                Fraudulent Omission of the Application of Inspection Fees by BOA

       89.     Despite the fact that Plaintiffs continue to live their home, BOA charged their

account for a "Property Inspection" on nine (9) occasions from 2010 to 2014, all while they were

living in the home. More specifically, they were charged for a Property Inspection fee on

February 25, 2010, May 3, 2010, May 24, • 2010, and December 25, 2010, and various other

occasions with the last fee being on April 1, 2014. These inspection fees are impermissible under

the HUD Servicing Guidelines and are but one example of the fraudulent charges for which BOA

applied to Plaintiffs' account and added to the foreclosure judgment amount.

       90.     BOA committed common law fraud upon Plaintiffs when throughout the HAMP

application process BOA employees omitted. the fact that the bank was conducting unnecessary

and improper inspections on their home and charging their account inspection fees.




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          91.     BOA committed common law fraud upon Plaintiffs when the bank requested they

  make trial payments during the HAMP application and omitted the fact that it had no intention of.

  approving the application and intended to apply some of the funds sent by Plaintiff for trial.

  payments to fraudulent inspection fees.

          92.    The. fraudulent omission. of .the tank's practice of applying trial payments to

  continuing inspection fees mislead the Plaintiffs, nto believing their trial payments would be

  applied to their mortgage and were for the purpose of final approval of-their HAMP application.

• • BOA had a duty inform Plaintiffs of their practice and intentionally refused to do so..

          93.    As a.direct result of the omission, Plaintiffs lost some of the funds sent to BOA

  for trial payments they believed were for final approval of their HAMP application. BOA profited • .

  by charging Plaintiffs' account for the inspection fees and applying some of the trial payments

  received from Plaintiffs and retaining those funds for profit.

         94.     Plaintiffs did not know the inspections were taking place, nor did they know that

  they were being charged for these inspections.. Even if Plaintiffs could have known about the

  inspections or the charges, they did not know and could not have known that the inspections and

 consequent charges were not permitted and were unlawful.

         95.. Plaintiffs did not know and could not have reasonably discovered that BOA was

 charging improper inspection fees and diverting a portion of their trial payments to pay those fees

 until they retained their attorneys in this matter in January 2017.

         96:     Upon information and belief, BOA further profited by using Plaintiffs' HAMP

 application to . make false claims for incentive payments to the United State Department of

 Treasury in the amount of $1,000.00 or $2,000.00, effectively using Plaintiffs as a pawn to




         Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 28 of 177
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 defraud the Federal Government. U.S. v.. Bank ofAmerica NA et al., case number 1:11-cv-03270,

 (E.D.N.Y.). . •

                          •• FACTUAL ALLEGATIONS •
                              PLAINTIFF #3 LORI MENDEZ

        97.     Plaintiff is a citizen Kern County, California, residing at 11603 Darlington

 Avenue, Bakersfield, California.

        98.    On August 1, 2005, Plaintiff Lori Mendez, executed a mortgage and note for her

 home located at 1603 Darlington Avenue, Bakersfield, California in the amount of $320,000.00

with regular monthly payments of $2,363.09. The lender was Countrywide Home Loans..

        99.    Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan

was assigned a loan number: (redacted but known to BOA and available by request).

        100. After experiencing financial hardship, due in part to the state of the economy,

Plaintiff contacted BOA by phone on or about August 3, 2009 requesting a HAMP modification.

        101. Although Plaintiff was in imminent default, at all relevant times, she had viable

and reasonable alternatives to foreclosure including alternative financing that were eliminated as

a direct and proximate cause of Defendant's wrongful acts alleged in this Complaint.


        False Statements of Fact Concerning Plaintiff's HAM' Application by Defendant


       102. On or 'about August 3, 2009; BOA provided Plaintiff a HAMP application and she

properly completed the application and returned it to BOA with the requested supporting financial

documents.

       103. However, as part of BOA's fraudulent scheme, on or about March 3, 2010,

Plaintiff was falsely informed by BOA employee, Justin Rich, that her documents were "not

current", "not received", or were "incomplete." The same or similar statements were made on


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         107. Plaintiff did not know, and could not have reasonably discovered, that these

 statements were false until she retained her attorneys in this matter in February 2017. Plaintiff

 reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application

 was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure

. proper compliance with HAMP as evidenced by her repeated submission of the application, and

 there were no resources reasonably available to a non-attorney borrower such as Plaintiff to

 contradict Defendant's false statements. Justin Rich, Michael Barlow, Lupe, Charlene, and others

 falsely told Plaintiff that her application was notcurrent or. missing, even though the application

was proper and complete, to further the scheme to delay the HAMP modification to ultimately

.deny it. Defendant's subsequent false statement in December 2009 that the HAMP application

was approved also caused Plaintiff to believe that these submissions were incomplete.

        108. By making these misrepresentations, BOA profited by avoiding the administrative

costs of a good faith processing of Plaintiff's modification application as was required under the

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiff's property.

          False Statements-of Fact of Approval and Request for Trial Payments by BOA

        109. On December 2009, BOA sent Plaintiff a letter stating her application was

"approved" and requested she make "trial payments" in the amount of $1,568.73 pursuant to the

Federal Government's Home Affordable Modification Program. This was false as the application

wasn't approved. Instead, BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiff.

       110. This false statement of fact and intentional omission was intended to cause

Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or



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 processing his HAMP application, but to cause Plaintiff to send trial payments so BOA could

 retain those funds in an unapplied account for profit •after foreclosure or apply the funds to

 fraudulent inspection and other fees the bank charged. See Exhibits 2, 3, 4, 5 and 6. • -   .      •   ••

        111. On December 31, 2009,. Plaintiff spoke with BOA loan representative Cynthia,

 and scheduled electronic payments for the HAMP "trial payment" amounts. Cynthia provided

Claimant confirmation numbers for each four months of "trial payments."

  .     112. . limas and is BOA's practice to place "trial .period payments... .into an unapplied

account until" BOA-made a decision on the borrowers' HAMP application. See. July 20, 2016- ...               -

Deposition of BOA Representative; Lonnie S. Mills, pursuant to Rule 1.310(b)6), Noelia Ramirez

v. Bank of America, N.A., Hillsborough County File No.: 16-CA-722. BOA employees

fraudulently omitted this fact when requesting the Plaintiffs make trial payments.

        113. Relying on BOA's misrepresentations, Plaintiff made eight (8) payments of more

than $1,568.73 in 2009 and 2010, hoping to save her home.

       114. Despite timely -making her trial payments, BOA denied Plaintiffs HAMP

modification in May 2019, falsely stating "you did not make all of the required payments." This

was false, as BOA representative "Cynthia" had confirmed her timely -TPP payments.

Subsequently, Plaintiff reapplied for a HAMP modification two more times. Despite her efforts,

BOA refused to respond to Ms. Mendez concerning her HAMP application.

       115. Further, as a direct result of relying on BOA's misrepresentations and intentional

omissions, on November 7, 2011, Plaintiff received a Notice of Intent to Accelerate her mortgage.

from BOA. On August 22, 2012, to avoid foreclosure, Ms. Mendez conducted a short sale of her

home in the amount of $212,000.00. Ms. Mendez moved out of her home in 2012.




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        116. Plaintiff suffered damages in the amount of the trial payments when BOA placed

 those payments in an =applied account and refused to credit her account, the loss of her home

 and the equity in that home, as well as damage .to her credit and the loss of some or all of the

 funds paid to BOA for trial. payments.

        117. By making these misrepresentations. BOA profited by retaining Plaintiffs trial

payments .for profit: BOA &Aber profited by forcing Plaintiffs into foreclosure and short- sale

 and avoiding the administrative costs of a good faith. processing of Plaintiff's modification.

 application as was required under the Agreement the bank.executed with the .FederalGovernment..

See Exhibit 1 at Sec. 2A. BOA also profited since Plaintiff expended time and money and lost

the opportunity to.pursue other loss mitigation options reasonably available to Plaintiff to prevent

foreclosure like, alternative financing -while awaiting BOA's decision on the modification

application. Plaintiffs lost opportunity was a direct and proximate cause of the subsequent

foreclosure from which Defendant benefited, as set forth herein.

       118. Plaintiff did not know and could not have reasonably discovered that the

statements herein were false and/or that her trial payments were not applied to her account until

she retained her attorneys in this matter in February 2017. Plaintiff contacted- Defendant

repeatedly throughout this process to ensure proper compliance with HAMP as evidenced by her

repeated submission of the application and repeated contact with Defendant, and there were no

resources reasonably available to a non-attorney borrower such as Plaintiff to contradict

Defendant's false statements.

               Fraudulent Omission of the Application of Inspection Fees by BOA

       119. . Despite the fact that Plaintiff lived in her home until 2012, BOA charged her

account for a "Property Inspection" on five (5) occasions from 2011 to 2012, all while she was


       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 32 of 177
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  living in the home. More specifically, she was charged-for a Property Inspection fee on October

  27, 2010, November 25,.. 2011, January 5, 2012, April 2, 2012, and May 13, 2012. These

 inspection fees are impenniisible under the HUD Servicing Guidelines and are but one example

 of the fraudulent charges for which• BOA applied .to Plaintiff's account and added to the

 foreclosure judgment amount. •

         120. BOA committed common law fraud upon Plaintiff when throughout the HAMP •

 application process BOA employees omitted the fact that the bank was conducting unnecessary '

 and improper inspections on his home and charging her account inspection fees.

        121. BOA committed common law fraud upon Plaintiff when the bank -requested she. .

 make trial pigments during the HAMP application and omitted the fact that it had no intention of

 approving the application and intended to apply some of the funds sent by Plaintiff for trial

payments to fraudulent inspection fees.

        122. The fraudulent omission of BOA's practice of applying trial payments to

continuing inspection fees mislead the Plaintiff into believing her trial payments would be applied

to her mortgage and were for the purpose of final approval of her HAMP application. BOA had

a duty inform Plaintiff of this practice .and intentionally refused to do so. •

        123. As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

trial payments she believed were for final approval .of her HAMP application. BOA-profited by

charging Plaintiff's account for the inspection fees and applying some of the trial payments

received from Plaintiff and retaining those funds for profit.

       124. Plaintiff did not know the inspections were taking place, nor did she know that she

was being.charged for these inspections. Even if Plaintiff could have known about the inspections




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 or the charges, she did not know and could not have known that the inspections and consequent

• charges were not permitted and were =lawful.

         125. Plaintiff did not know .and could not have reasonably discovered that BOA was

 charging improper inspection fees and diverting a portion of her trial payments to pay those fees

 until she retained her attorneys in this matter in February 2017.   •,

        126. Upon information and belief, BOA further profited by using Plaintiff's HAMP

 application to. make false claims for incentive payments to the United State Department of •

 Treasury in. theamount of $1,00000 or $2,000.00, effectively using Plaintiff as a pawn.to defraud

 the Federal . Government.. US. .v. Bank of America NA et al., case number 1:11-cv-03270,

 (E.D.N.Y.).

                                FACTUAL ALLEGATIONS
                              PLAINTIFF #4 LORI MARTINEZ

        127. Plaintiff, Lori Martinez is a citizen of Riverside County, California, residing at

37185 Wakefield Street, Indio, California.

        128. On April 24, 2000, Plaintiff executed a mortgage and note for her home located at

68680 Senora Road, Cathedral City, California. Plaintiff subsequently refinanced the property on

February 29, 2008, in the amount of $195,000.00, with regular monthly payments set at

$1,329.94. The lender was Countrywide Home Loans, Inc.

       129. Subsequently, BOA began servicing the Plaintiffs home mortgage and the loan

was assigned number: (redacted but known to BOA and available by request).

       130. After experiencing financial hardship, due in part to the state of the economy,

Plaintiff contacted BOA by phone in July 7, 2009 requesting a HAW' modification.

       131. Although Plaintiff was in imminent default, at all relevant times, she had viable

and reasonable alternatives to foreclosure including but not necessarily limited to alternative

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  financing that were eliminated as a direct and proximate cause of Defendant's wrongful acts

  alleged in this Complaint.

                   False Statements of Fact Concerning HAMP Eligibility by Defendant -

          132. On or about July 7, 2009, a BOA loan representative advised and directed Plaintiff

  by phone to refrain from making her regular mortgage payments. The BOA loan representative

  specifically told Plaintiff being • past due and in default was a prerequisite, for a HAMP

 modification. This BOA loan representative specifically: told Plaintiff "[she] had to be late" on

 her mortgage loan to be eligible for a HAMP modification. 7 Relying on this statement, Plaintiff.

 remained in default and/or stopped making regular monthly mortgage payments. Plaintiff:was • .. •

 told to remain in default and/or to stop making regular monthly mortgage payments on more than.

 one occasion throughout the application process. Although the Plaintiff did not know it until she

 contacted an attorney in December 2016, this statement was false as default was not required for

 HAMP eligibility. This BOA loan representative omitted the fact that eligibility was available for

 HAMP to borrowers if default was reasonably foreseeable. Plaintiff was told this false

information as part of BOA's scheme, as outlined above, in an effort to prevent them from

receiving a HAMP modification.

         133. This BOA repiesentative knew the statement was false when made and

intentionally omitted that only imminent default was required for HAMP eligibility. The

statement and omission was made to induce the Plaintiff to rely on them. The statements were •

specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by, inter

alia, receiving HAMP payments and acquiring the Plaintiff's home by foreclosure. Plaintiff




7 The  name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, 'PORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.
         Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 35 of 177
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  believed she was required to be in default on her mortgage because this is what BOA employees

  told her and was misled into believing that fact because the fact that only imminent default was •

  required was intentionally omitted.

         134. - Relying on the false statement and omission, Plaintiff refrained from making her

•. regular mortgage payment and fell into default status. Thereafter, Plaintiff, made HAMP trial

  payments, as set forth elsewhere in.the Complaint, but BOA used Plaintiff's default status as an

  excuse to refuse to apply, thesepayments to Plaintiff's account. BOA's actions resulted in further. .

 .default and foreclosure of.Plaintiff s home. ..Plaintiff lost her home, the equity in•her home and.     .•

 money paid as trial payments as. a direct result of BOA's fraudulent statements of fact: BOA

 profited by retaining Plaintiff's trial payments and.foreclosing on Plaintiff' s.home.   •

         135. .Plaintiff did not know, and could not have reasonably discovered, that these

 statements were false until she retained her attorneys in this matter in December 2016, nor could

 Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

 Complaint until she retained her attorneys. Plaintiff reasonably relied on the statements of

 Defendant's employees that Plaintiff must be in default in order to qualify for HAM?. Plaintiff

 contacted Defendant repeatedly throughout this process to ensure proper compliance with

 HAMP's requirements, and there were no resources reasonably available to a non-attorney

 borrower such as Plaintiff to contradict Defendant's false statements.


         False Statements of Fact Concerning Plaintiff's HAM:P Application by Defendant


        136. Subsequently, BOA provided Plaintiff a HAMP application and she properly

 completed the application and returned it to BOA with the requested supporting financial

documents on or around August 11, 2009.


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           137. However, as . part of BOA's fraudulent scheme, once the application was

   submitted, on or about November 30, 2009 Plaintiff received a letter from BOA employee "Ken

   Scheller" falsely stating the "documents have been sent to us with missing or incorrect • •

   information" and .requested she resubmit the documents Plaintiff had previously provided in ' •

   August 2009. ;The same or similar statements were made on subsequent phone.calls with BOA '

   employees Ken and Jamall, that Plaintiff's documents were "incomplete", "missing" Or '!stale."

   Ken, Jamall, and other BOA employees knew these 'representations were false and this-practice

- -was policy and procedure at BOA. See Exhibits 2, 3, 4. 5 and 6. ..

          138. These false statements were made by BOA employees, Ken, Jamall, and others for .

  the purpose of inducing Plaintiff to Tesend her modification application over and over in order to -

  frustrate the application process.

          139. These misrepresentations were made to Plaintiff by BOA representatives Michael

  Sanchez, Lennie, and others, not for the purpose of processing Plaintiff's application in good

  faith, but instead for the specific purpose of frustrating the HAMP application process to-ensure

  a modification was ultimately declined, resulting in foreclosure. BOA employees knew these

  statements were false and some employees were awarded cash incentives as well as restaurant .

  and retail gift cards for meeting quotas for declining modification applications in a given day or

  week. See Exhibits 2; 3, 4, 5 and 6. In fact, Plaintiff's applications were intentionally lost within"

  BOA' s databases or destroyed in order to prevent Plaintiff from receiving a HAMP modification. •

         140. Plaintiff believed these statements were true, relied on them, and as a result, '

  unnecessarily resubmitted their application and supporting information via U. S. Mail, fax, and

  Federal Express more than eight (8) times. As a direct result, Plaintiff was damaged and suffered




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   a loss of the costs and time spent sending and, resending their HAMP application on multiple

  occasions when BOA had no intention of reviewing it.

          141. Plaintiff.did not know, and could not have reasonably discovered, that these

• statements were false until she .retained her attorneys in this matter in December 2016. Plaintiff

  reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application

  was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure

. proper compliance with HAMP as evidenced by •her_repeated submission of the application, and

  there were no. resources reasonably available to a .non-attorney borrower such as Plaintiff to

  contradict Defendant's false statements. Ken, Jamall, and others falsely told:Plaintiff Mather

  application was not current or missing, even though the application was proper and complete, to

  further the scheme to delay the HAMP modification to ultimately deny it. Defendant's

  subsequent false statement on September 1, 2009 that the HAMP application was approved also

 caused Plaintiff to believe that these submissions were incomplete.

         142. By making these misrepresentations, BOA profited by avoiding the administrative

 costs of a good faith processing of Plaintiff's modification application as was required under the

 Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. • BOA

 further profited by denying the modification and proceeding to foreclose on Plaintiff's property.

           False Statements of Fact of Approval and Request for Trial Payments by BOA

         143. On or about September 1, 2009, BOA sent Plaintiff a letter stating her application

 was "approved" and requested she make."trial payments" in the amount of $930.00 pursuant to

 the Federal Government's Home Affordable Modification Program. This was false as the

 application wasn't approved. Instead, BOA had no intention of approving the application and this

 fact was fraudulently omitted from the Plaintiffs.


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         144. This false statement of fact and intentional omission was intended to. cause.

 Plaintiff to make trial payments to BOA, not for the purpose of compliance with RAMP or

 processing her RAMP application, but to cause Plaintiff to send trial payments so BOA could

 retain those funds in an • unapplied account for profit after foreclosure or apply .the funds to

 fraudulentinspection-andother fees the bank charged. See Exhibits 2, 3, 4,5 and 6.

         145.    It was and is BOAN practice to place "trial period payments... .into an unapplied

 account until" BOA made. a decision on the .borrowers' HAMP.application. See July.20, 2016....

 Deposition ofBOA Representative, Lonnie S. Mills; pursuant to Rule 1.310(b)6), Nadia Ramirez

 v. Bank of America,. N.A., Hillsborough County File No.: 16-CA-722. BOA employees

-fraudulently omitted this fact when requesting the Plaintiffs make trial payments.

        146.    Relying on BOA'sinisrepresentatiohs, Plaintiff made at least ten (10) payments

of $930.00 from 2009 through 2011, hoping to save her home.

        147.    On September 23, 2010, BOA employee "Jamall" told Plaintiff that her

modification was still "under review" and requested the documentation which Plaintiff had

previously submitted. Relying on this misrepresentation, Plaintiff again resubmitted the

documentation to BOA as requested, as.. it was the same documentation she had previously

provided.

       148. Further, as a direct result of relying on BOA's misrepresentations and, intentional

omissions, on August 4, 2011, Plaintifestome was foreclosed by BOA, NA. As a result of the

foreclosure, a judgment in .the amount of $159,000.00 was entered against Plaintiff. Plaintiff

moved out of her home in 2011.

       149.     Plaintiff suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account and refused to credit her account, the loss of her home


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  and the equity in that home, as well as damage to her credit and the loss of some or all of the

  funds paid to BOA for trial payments.

          150: By •malcing these misrepresentations, BOA profited by retaining Plaintiff's trial

  payments for profit. -BOA further profited by forcing Plaintiffinto foreclosure and avoiding the.

  administrative costs of a good faith processing of Plaintiff's modification application as was

 required under the Agreement the bank executed with the Federal Government. See Exhibit I -at -

 Sec. 2A. BOA also profited since Plaintiff expended time and money and lost the opportunity to

•.pursue other loss mitigation options reasonably available-to Plaintiff to prevent foreclosure, like

 alternative financing;•while awaiting BOA's decision on the modification application. Plaintiffs

 lost opportunity was a•direct and proximate cause of the subsequent foreclosure from which •

 Defendant benefited, as set forth herein.

         151. Plaintiffs did not know and could not have reasonably discovered that the

 statements herein were false and/or that her trial payments were not applied to her account until

 she retained her attorneys in this matter in December 2016. Plaintiff contacted Defendant

 repeatedly throughout this process to ensure proper compliance with RAMP as evidenced by her

repeated submission of the application and repeated contact with Defendant,•and there were no

resources reasonably available to a non-attorney borrower such as Plaintiff to • contradict

Defendant's false statements.

             • Fraudulent Omission of the Application of Inspection Fees by BOA

        152. Despite the fact that Plaintiff lived in her home until 2011, BOA charged her '

account for a "Property inspection" on eight (8) occasions from 2010 to 2011, all while she was

living in the home. she was charged for Property Inspection fees beginning on October 27, 2010

through June 8, 2011. These inspection fees are impermissible under the HUD Servicing


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 Guidelines and are but one example of the fraudulent charges for which BOA applied to Plaintiff's

 account and added to the foreclosure judgment amount.

        153. BOA committed common law fraud upon Plaintiff when throughout the HAMP

 application process BOA employees omitted the fact that the bank was conducting.urmecessary

 and improper inspections on her home and charging her- account inspection.fees.

        154. . BOA committed common law fraud upon Plaintiff when the bank -requested she

 make trial paments.during.the-HAMP application and omitted the fact that it had no intention. of • .---

 approving the application...and intended to apply .some of the .funds sent by Plaintiff, for trial .......:

payments to fraudulent inspection fees.

        155. The fraudulent omission of the bank's . practice of applying trial 'payments to

continuing inspection fees mislead the Plaintiff into believing her trial payments would be applied

to her mortgage and were for the purpose of final approval of her HAMP application. BOA had

a duty inform Plaintiff of this practice and intentionally refused to do so.

       156. As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

trial payments she believed were for final approval of her HAMP application. BOA profited by

charging Plaintiff's account for the inspection fees and applying some of the trial payments

received from Plaintiff and retaining those funds for profit.

       157. Plaintiff did not know the inspections were taking place, nor did she know that she

was being charged for these inspections. Even if Plaintiff could have known about the inspections

or the charges; she did not know and could not have known that the inspections and consequent

charges were not permitted and were unlawful.




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            158. Plaintiff did not know and •could not have reasonably discovered that BOA was

   charging improper inspection fees and diverting a portion of her trial payments to pay those fees

   until she retained her attorneys in this matter in December.2016. .

           159. . Upon information and .belief. BOA further profited-by using Plaintiff's HAMP

   application to make_ false .claims for incentive payments to the United :State Department of.

   Treasury in the amount of $1,000.00 or $2,000.00, effectively using Plaintiff as a pawn to defraud •

.•__the Federal Government. U.S. v. Bank of America NA et aL, case number 1:11-cv-03270,

  . (E.D.N.Y.)....

                                FACTUAL ALLEGATIONS
                     PLAINTIFFS #5 JEANETTE and ANDREW ALESHIRE

           160. Plaintiffs, Jeanette and Andrew Aleshire, are citizens of citizen of Polk County,

  Wisconsin, residing at 1704 300th Avenue, Frederic, Wisconsin.

          161. On June 17, 2004 Plaintiffs executed a mortgage and note for their home located

  at 8667 Meadown Lane, Pine City, Minnesota, in the amount of $162,578.00. Plaintiffs

  subsequently refinanced their mortgage on August 4, 2005 with Summit Mortgage Corporation.

          162. Subsequently, BOA began servicing the Plaintiffs' home mortgage and the loan

  was assigned number 2655140000.

          163. After experiencing financial hardship, due in part to the state of the economy,

 Plaintiffs contacted BOA by phone on September 9, 2009 requesting a HAMP modification.

        . 164. Although Plaintiffs were in imminent default, at all relevant times, they had viable

 and reasonable alternatives to foreclosure including but not necessarily limited to alternative

 fmancing that were eliminated as a direct and proximate cause of Defendant's wrongful acts

 alleged in this Complaint.

                 False Statements of Fact Concerning HAMP Eligibility by Defendant
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            165. On or about March 18, 2009, a BOA loan representative advised and directed

    Plaintiff by phone to refrain from making their regular mortgage payments. This BOA

    representative specifically told Plaintiffs, "stop making your mortgage payment for three months

    in order to be approved for a HAMP modification.":8- Relying on this • statement, Plaintiffs

    remained in default and/or stopped making regular monthly mortgage payments. Plaintiffs were

• told to remain in default and/or to stop making regular monthly mortgage payments on more than

    one occasion throughout the application process. Although the Plaintiffs did not know it until they.

    contacted an attorney in January 2017, this statement was false as .default was not required for

    HAMP eligibility. BOA loan representatives omitted the fact that eligibility was available for

    HAMP to borrowers if default was reasonably foreseeable. Plaintiffs were told this false

    information as part of BOA's scheme, as outlined above, in an effort to prevent them from

    receiving a HAMP modification.

           166. BOA representatives knew the statement was false when made and intentionally

omitted that only imminent default was required for HAMP eligibility. The statement and

omission was made to induce the Plaintiffs to rely on them The statements were specifically

designed by BOA to set Plaintiffs up for foreclosure so BOA could benefit by, inter alia, receiving

HAMP payments and acquiring the Plaintiffs' home by foreclosure. Plaintiffs believed they were

required to be in default on their mortgage because this is what BOA employees told them and

was misled into believing that fact because the fact that only imminent default was required was

intentionally omitted.




8 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIBBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.

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         167. Relying on the falsestatement and omission, Plaintiffs refrained from making their

 regular mortgage, payment and fell into default status. Thereafter, Plaintiffs made HAMP trial

 payments, as set forth elsewhere in the Complaint, but BOA used Plaintiffs! default status as an

 excuse to refuse to apply these payments to Plaintiffs' account. BOA's actions resulted- in further

 default and foreclosure of Plaintiffs' home. Plaintiffs lost their home, the .equity in their home

 and money paid as trial payments as a-direct result of BOA's fraudulent .statements of fact BOA

.profited by retaining Plaintiffs' trial payments and foreclosing on Plaintiffs' home.    -

        168. Plaintiffs :did -not- know, and could not have reasonably discovered, that These.

 statements were false until they retained thcir attorneys in this matter in January 2017, nor could.

 Plaintiffs know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

Complaint until they retained their attorneys. Plaintiffs reasonably relied on- the statements of

Defendant's employees that Plaintiffs mast be in default in order to qualify for HAMP. Plaintiffs

.contacted Defendant repeatedly throughout this process to ensure proper compliance with

HAMP's requirements, and there were no resources reasonably available to a non-attorney

borrower such as Plaintiffs to contradict Defendant's false statements.


         False Statements of Fact Concerning Plaintiffs' HAMP Application by Defendant


        169. On or around March 2009, BOA provided Plaintiffs a HAMP application and they

properly completed the application and returned it to BOA with the requested supporting financial

documents.

       170. However, as part of BOA's fraudulent scheme, on November 23, 2009 Plaintiff

was falsely informed by BOA employees, over the phone, that the documents were "not received"

or were "not current." The same or similar statements were made on subsequent phone calls with

BOA employees. Then, on or about March 17, 2010, BOA employee Kristy Grisham again
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• falsely informed Plaintiffs that their documents were -"incomplete" and that BOA had had no

 contact with Plaintiffs since December 22,.2009. This was false, as Plaintiffs had spoken with

 BOA employee,"Maggie" on February 25, 2009 who had falsely informed them their documents •

 were "incomplete." Kristy Grisham, Maggie, • and other BOA employees knew these .

.representations were false and this.practice wa,5 policy and procedure at BOA. See Exhibits 2.-

 3. 4. 5 and 6. in.fact, Plaintiffs' applications were intentionally lost within BOA's .databases or ' -

 destroyed in order to prevent Plaintiffs' from receiving a HAMP modification. . .

    .    171. These false statements were made by. BOA employees, Kristy Grisham, Maggie,

 and others for the purpose of inducing Plaintiffs.to resend their modification application. over and, :

 over in order to frustrate the application process.

         172. These misrepresentations were made to Plaintiffs by BOA representatives Kristy .

 Grisham, Maggie, and others, not for the purpose of processing Plaintiffs' application in good

faith, but instead for the specific purpose of frustrating the HAMP application process to ensure

a modification was ultimately declined, resulting in foreclosure. BOA employees knew these

statements were false and some employees were awarded cash incentives as well as restaurant

and retail gift cards for meeting quotas for declining modification applications in a given day or •

week. See Exhibits 2,3. 4. 5 and 6. In fact, Plaintiffs' applications were intentionally log within

BOA's databases or destroyed in order to prevent Plaintiffs from receiving a HAMP modification.

        - 173. Plaintiffs believed these statements were true, relied on them, and as a result,

unnecessarily resubmitted their application and supporting information via U. S. Mail, fax; and

Federal Express more than three (3) times. As a direct result, Plaintiffs were damaged and

suffered a loss of the costs and time spent sending and resending their HAMP application on

multiple occasions when BOA had no intention of reviewing it.


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        174. Plaintiffs did not know, and could not have reasonably discovered, that these

 statements were false until they retained their attorneys in this matter in January 2017. Plaintiffs.

reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application .

was not complete. Plaintiffs contacted Defendant repeatedly throughout this process to ensure

proper compliance with HAMP as evidenced by their repeated submission of the application, and

there were no resources reasonably available .to a non-attorney borrower such. as Plaintiff.to

contradict. Defendant's false-statements... .Kristy Grisham, Maggie, and others falsely told

Plaintiffs that their application was not current or missing, even though the application was proper .

and complete, to further. the scheme to delay the HAM? modification to -ultimately deny it. .

Defendant's subsequent false statement on December 11, 2009 that the HAMP .application was •

approved also caused Plaintiffs to believe that these submissions were incomplete.

        175. By making these misrepresentations, BOA profited by avoiding the administrative

costs of a good faith processing of Plaintiffs' modification application as was required under the

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiffs' property.

          False Statements of Fact of Approval and Request for Trial Payments by BOA

       176. On December 11, 2009, BOA sent Plaintiffs a letter stating their application was

"approved" and requested they make "trial payments" in the 'amount of $766.01 pursuant to the

Federal Government's Home Affordable Modification Program: This was false as the application

wasn't approved. Instead; BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.

       177. This false statement of fact and intentional omission was intended to cause

Plaintiffs to make trial payments to BOA, not for the purpose of compliance with HAMP or


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 processing their RAMP application, but to cause Plaintiffs to send trial payments so BOA could

 retain those funds in an unapplied account for profit after foreclosure or apply the funds to

 fraudulent inspection and other fees the bank charged. See Exhibits 2. 3. 4. 5 and 6.       -

         178. • It was and is.BOA's practice to place "trial period payments... .into an unapplied

 account .until" BOA made a decision on the borrowers' HAIVIP application. .See July 20, 2016

 Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6), Noelia Ramirez

 v. -Bank of America, N.A., .Hillsborough County File No.: 16-CA-722.• BOA employees

 fraudulently omitted this fact when requesting the Plaintiffs make trial payments.: .

       .179. Relying on BOA' s miarepresentations, Plaintiffs made seven (7) payments of more

than $766.01 in 2009 and 2010, hoping to save their home. Further, as a direct result of relying

on B0A's misrepresentations and intentional omissions, on August 31, 2011, Plaintiffs' home •

was foreclosed by BOA. As a result of the foreclosure, a judgment in the amount of $217,082.08

was entered against Plaintiffs, $33,082.08 more than their original mortgage. Plaintiffs moved out

of their home in July 2012.

        180. Plaintiffs suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account and refused to credit their account, the loss of their home

and the equity in that home, as .well as damage to their credit and the loss of some or all of the

funds paid to BOA for trial.payments.

       181. By making these misrepresentations, BOA profited by retaining Plaintiffs' trial

payments for profit. BOA further profited by forcing Plaintiffs into foreclosure and avoiding the

administrative costs of a good faith processing of Plaintiffs' modification application as was

required under the Agreement the bank executed with the Federal Government. See Exhibit 1 at

Sec. 2A. BOA also profited since Plaintiffs expended time and money and lost the opportunity

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 to pursue other loss mitigation options reasonably -available to Plaintiff to prevent foreclosure,

 like alternative financing, while awaiting BOA's decision on the modification application.

 Plaintiffs' lost opportunity was a direct and proximate cause of the subsequent foreclosure from

 which Defendant benefited, as set forth herein.

        182. Plaintiffs did not know and could not have reasonably discovered that the

 statements herein were false and/or that their trial payments were not applied to•their account until

 they retained their attorneys in .this matter ..in January. 2017. Plaintiff contacted Defendant

 repeatedly throughout this process to ensure proper.compliancewith HAMP as evidenced by their

•repeated submission of the application.and repeated contact with Defendant, and there .were no.

resources reasonably .available to a non-attorney borrower such as Plaintiffs to contradict

Defendant's false statements.

                 Fraudulent Omission of the Application of Inspection Fees by BOA

        183. Despite the fact that Plaintiff lived in his home until 2012, BOA charged their

account for a "Property Inspection" on thirty-five (35) occasions from 2010 to 2011, all while

they were living in the home. More specifically, they were charged $15.00 and $10.00 "Property

Inspection" fees on January 2, 2008, July 2,•2009, October 27, 2010, and various other occasions

with the last fee being on May 23, 2012. These inspection fees are impermissible under the HUD

Servicing Guidelines and are but one example of the fraudulent charges for which BOA applied

to Plaintiffs' account and added to the foreclosure judgment amount.

      •184. BOA committed common law fraud upon Plaintiffs when throughout the HAMP

application process BOA employees omitted the fact that the bank was conducting unnecessary

and improper inspections on their home and charging their account inspection fees.




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             185. BOA committed common law fraud upon Plaintiffs when the bank requested they

  make trial payments during the HAMP application and omitted the fact that-it had no intention of

  approving, the application and intended. to apply some of. the funds sent by •Plaintiffs for trial •

 payments to-fraudulent inspection fees.

             186: The fraudulent omission of the banks practice of applying trial -payments to

 continuing inspection -fees mislead the Plaintiffs into believing their trial payments 'would be

 - applied   to their mortgage and-were for the purpose of final approval of their HAMP application.

 BOA had a duty inform-Plaintiffs of this practice and intentionally refused to do so.

             187. .As a direct result of the omission, Plaintiffs lost some of the funds sent to BOA

• for trial payments they believed were for final approval of their HAMP application. BOA profited

 by charging Plaintiffs' account for the inspection fees and applying some of the trial payments

 received from Plaintiffs and retaining those funds for profit.

         188. Plaintiffs did not know the inspections were taking place, nor did they know that

 they were being charged for these inspections. Even if Plaintiffs could have known about the

 inspections or the charges, they did not know and could not have known that the inspections and

 consequent charges were not permitted and were-unlawful.

         189.      Plaintiffs did not know and could not have reasonably discovered that BOA was

 charging improper inspection fees and diverting a portion of their trial payments to pay those fees

until they retained their attorneys in this matter In January 2017.

         190.      Upon information and belief, BOA further profited by using Plaintiffs' HAMP

application to make false claims for incentive payments to the United State Department of

Treasury in the amount of $1,000.00 or $2,000.00, effectively using Plaintiffs as a pawn to




       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 49 of 177
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 defraud the Federal Government. U.S. v. Bank of America NA et al.; case number 1:11-cv-03270,

 (E.D.N.Y.).    •

                        : •   FACTUAL ALLEGATIONS
                           PLAINTIFF #6 MARQUITA PERRY

        191. Plaintiff, Marquita Perry, Maricopa County, Arizona, residing at 4129 West Park

 Street, Phoenix, Arizona.

        192. On August 4, 2008, Plaintiff, Marquita Perry, executed a mortgage and note for

her home located at 57434 West Carter Road, Laveen Village, Arizona in the amount of

$231,664.00 with regular monthly payments of $1,696.32. The lender was CTX Mortgage

Company, LLC.

        193. Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan •

was assigned a number: (redacted but known to BOA and available by request).

        194. After experiencing financial hardship, due in part to the state of the economy, •

Plaintiff contacted BOA by phone in August 19, 2009 requesting a HAMP modification.

        195. Although Plaintiff was in imminent default, at all relevant times, she had viable

and reasonable alternatives to foreclosure including but not necessarily limited, alternative

fmancing that were eliminated as a direct and proximate cause of Defendant's wrongful acts :

alleged in this Complaint.

               False Statements of Fact Concerning RAMP Eligibility by Defendant

       196. On or about August 14, 2009, a BOA loan representative advised and directed

Plaintiff by phone to refrain from making her regular mortgage payments. The BOA loan

representative specifically told Plaintiff she had to be "sixty days past due" on her mortgage loan




       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 50 of 177
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    to be eligible for a HAMP modification:9 Relying on this statement, Plaintiff remained in default

    and/or stopped making regular monthly mortgage payments. Plaintiff was told to remain in default

• and/or to stop making regular monthly mortgage payments on more than one occasion throughout

    the application process. Although the Plaintiff did not know it until she contacted an attorney in

    December 2016, this statement was false as default was not required for HAMP eligibility. This

    BOA loan representative omitted the fact that eligibility was available for HAMP to borrowers if .

    default was reasonably foreseeable. Plaintiff was told this false information as part of BOA's •

    scheme, as outlined above, in an effort to prevent.her from receiving a HAMP modification. .

           197. This BOA representative knew the statement was false when made and

 intentionally omitted that only imminent default was required for HAMP eligibility. The

 statements and omissions were made to induce the Plaintiff to rely on them. The statements were

 specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by, inter

 alia, receiving HAMP payments and acquiring the Plaintiffs home by foreclosure. Plaintiff

 believed she was required to be in default on her mortgage because this is what BOA employees

 told her and was misled into believing that fact because the fact that only imminent default was

 required was intentionally omitted.

          198. Relying on the false statement and omission, Plaintiff refrained from making her

regular !mortgage payment and fell into default status. Thereafter, Plaintiff made HAMP trial

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiff's default status as an

excuse to refuse to apply these payments to Plaintiff's account. BOA' s actions resulted in further

default and foreclosure of Plaintiffs home. Plaintiff lost her home, the equity in her home and


9 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as S1EBEL, LAMP, Homesaver, LPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.
        Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 51 of 177
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  money paid as trial payments as a- direct result of BOA's fraudulent statements of fact. BOA

  profited by retaining Plaintiff's trial payments and foreclosing on Plaintiff's home.

          199. -Plaintiff did not know, and • could not have reasonably discovered, that these .

  statements were false until she retained her attorneys in this matter in December- 2016, nor could

• Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme Set forth in this .•

  Complaint until she retained her attorneys. Plaintiff reasonably relied on the statements of

  Defendant's•employees.that Plaintiff must be in default in order to qualify for,HAMP.. Plaintiff . •

 contacted Defendant repeatedly throughout this process to ensure proper compliance .with ....

 HAMP's requirements, and there were no. resources reasonably available to a non-attorney

 borrower such as Plaintiff to contradict Defendant's false statements.


           False Statements of Fact Concerning Plaintiffs' RAMP Application by Defendant


         200. On or about December 2009, BOA provided Plaintiff a HAMP application and she

 properly completed the application and returned it to BOA with the requested supporting financial

 documents.

         201.    However, as part of BOA's fraudulent scheme, once the application was

 submitted, on or about December 2009 Plaintiffs were falsely informed by multiple BOA

 employees over the phone that the documents were "not current", "missing", or "never

 received."0 The same or similar statements were. made on subsequent phone calls with BOA

 employees and communication with. the Neighborhood Assistance Corporation of America

 (NACA). BOA employees knew these representations were false and this practice was policy and



 HI The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
 identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, 'PORTAL and AS/400
 system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.
       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 52 of 177
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 procedure at BOA.       See Exhibits 2. 3. 4. 5 and 6. In fact, Plaintiff's applications were

 intentionally lost within BOA's databases or destroyed in order to prevent Plaintiff's -from

 receiving a•HAMP modification:

        202.. These false statements were made by BOA employees for the purpose of inducing

 Plaintiff to resend her modification application over and over in order to frustrate the application

 process.

        203.    These misrepresentations were made to Plaintiff by BOA representatives not for

.the purpose of processing Plaintiff's application in good faith, but instead for the specific-purpose

of frustrating the HAMP application process to ensure a modification was ultimately declined,

resulting in foreclosure: BOA employees knew these statements were false and some.employees

were awarded cash incentives as well as restaurant and retail gift cards for meeting quotas for

declining modification applications in a given day or week. See Exhibits 2. 3. 4. 5 and 6. In fact,

Plaintiff's applications were intentionally lost within B0A's databases or destroyed in order to

prevent Plaintiff from receiving a HAMP modification.

        204.   Plaintiff believed these • statements was true, relied on them, and as a result,

unnecessarily resubmitted their application and supporting information via U. S. -Mail, /4ACA

submission, and Federal Express more than five (5) times. As a direct result, Plaintiff was

damaged and suffered a loss of the costs and time spent sending and resending her HAMP

application on multiple occasions when BOA had no intention of reviewing it.

       205.    Plaintiff did not know, and could not have reasonably discovered, that these

statements were false until she retained her attorneys in this matter in December 2016. Plaintiff

reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application

was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure

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  proper compliance with HAMP as evidenced by her repeated submission of the application; and

  there were no resources reasonably available to a non-attorney borrower such as Plaintiff to

  contradict Defendant's false statements. BOA employees falsely told Plaintiff that her application

  was not current or missing, even though. the application was proper and complete, to further the.:.

  scheme to delay .the HAMP modification to ultimately deny it. Defendant's subsequent false

 statement on July 28, 2010 that the HAMP application was approved also caused Plaintiff to

 believe that these submissians were incomplete.                                          . - .

         206.   By making these misrepresentations, BOA .profited by avoiding the administrative

 costs of a good faith processing of Plaintiff's modification application as was required under the

- Agreement the bank executed with the Federal Government. See Exhibit .1 at Sec: 2A. BOA

 further profited by denying the modification and proceeding to foreclose on Plaintiff's. property.

           False Statements of Fact of Approval and Request for Trial Payments by BOA .

         207.   On or about July 28, 2010, BOA sent Plaintiff a letter stating her application was

 "approved" and requested she make "trial payments" in the amount of $1,463.77 pursuant to the

 Federal Government's Home Affordable Modification Program. This was false as the application

 wasn't approved. Instead, BOA had no intention of approving the application and this fact was

 fraudulently omitted from the Plaintiff.

        208.    This false statement of fact and intentional omission was intended to cause

 Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

 processing her HAMP application, but to cause Plaintiff to send trial payments so BOA could

 retain those funds in an unapplied account for profit after foreclosure or apply the funds to

 fraudulent inspection and other fees the bank charged. See Exhibits 2.3. 4.5 and 6.




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         209.    It was and is BOA's practice to place "trial period payments... .into an unappIied

 account until" BOA made a decision-on the borrowers' HAM'''. application. See July 20, 2016

 Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6), Noelia Ramirez

 v. Bank of America, N.A., Hillsborough County Pile No.: 16-CA-722. BOA employees

 fraudulently omitted this fact when requesting the Plaintiff make trial .payments.

        210.    Relying.on BOA's misrepresentations, Plaintiff made at least five (5) payments

-of $1,464.00 in 2010, hoping to save her home.                              •




        211.- Further, as a direct result. of relying on BOA's misrepresentations and intentional

omissions, on Jarman*, 7,- 2014, Plaintiffs home was foreclosed by 'BOA. Plaintiff moved out

of her home in February 2014.

        212.    Plaintiff suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account and refused to credit her account, the loss of her home

and the equity in that home, as well as damage to her credit and the loss of some or all of the

funds paid to BOA for trial payments. •

        213.    By making these misrepresentations, BOA profited by retaining Plaintiffs trial

payments for profit. BOA -further profited by forcing Plaintiff into foreclosure and avoiding the

administrative costs of a good faith processing of Plaintiff's modification application as was

required under the Agreement the bank executed with the Federal Government. See Exhibit 1,at

Sec. 2A. BOA also profitedsince Plaintiff expended time and money and lost the opportunity to

pursue other loss mitigation options reasonably available to Plaintiff to prevent foreclosure, like.-

alternative fmancing, while awaiting BOA's decision on the modification application. Plaintiff's

lost opportunity was a direct and proximate cause of the subsequent foreclosure from which

Defendant benefited, as set forth herein.

       Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 55 of 177
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  believed she was required to be in default on her mortgage because this is what BOA employees

  told her and was misled into believing that fact because the fact that only imminent default was:

  required was intentionally.omitted.

         223. Relying on the false statement and omission; Plaintiff refrained from making-her

  regular -mortgage payment and fell into default status. • Thereafter, Plaintiff made HAMP trial -

  payments, as set forth elsewhere in the Complaint, but BOA used Plaintiff's, default status as an

• excuse to refuse to apply these payments to Plaintiff's account. BOA's actions resulted in further

•..default and foreclosure of Plaintiff's home., Plaintiff lost her home, the equity in her home.and

 money paid as trial payments as w direct 'result of BOA's fraudulent statements .of fact. BOA

 profited by retaining Plaintiff's trial payments and foreclosing on Plaintiff's home.

         224.   Plaintiff did not know, and could not .have reasonably discovered, that these

 statements were false until she retained her attorneys in this matter in March 2017, nor could

 Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

 Complaint until she retained her attorneys. Plaintiff reasonably relied on the statements of

 Defendant's employees that Plaintiff must be in default in order to qualify for HAM?. Plaintiff

 contacted Defendant repeatedly throughout this process to ensure proper compliance with •

 HAMP's requirements, and there were no resources reasonably available to a non-attorney

 borrower such as Plaintiff to contradict Defendant's false statements.

         False Statements of Fact Concerning Plaintiff's HAMP Application by Defendant


        225.    On or about April 1, 2009, BOA provided Plaintiff a HAMP application and she

properly completed the application and returned it to BOA with the requested supporting financial

documents.


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         226.    However, as part of BOA' s •fraudulent scheme, once the application was •

 submitted, on or about July 9, 2009, Plaintiff was falsely informed by BOA employee "Monice"

 the phone that her documents were "not complete." The same or similar statements were made

 on subsequent phone calls with BOA employees. For example,. on October 9, 2009, BOA

 employee 'Eric".falsely. informed Plaintiff that her documents she had sent, and received .by. BOA;

 were "incomplete". Eric, Monice, and 'other BOA .employees knew these representations .were

 false-and this practice was policy, and procedure at BOA. See Exhibits 2. 3..4..5 and .6. In fact,

 Plaintiff's applications were intentionally lost-within BOA'.s databases or destroyed in order to

prevent Plaintiff's from receiving a HAMP modification:

        227.    These false Statements were made by BOA employees Eric, Monice, and others

for the purpose of inducing Plaintiff to resend her modification application over and over in order

to frustrate the application process.

        228.    These misrepresentations were made to Plaintiff by BOA representatives Eric,

Monice, and others, not for the purpose of processing Plaintiff's application in good faith, but

instead for the specific purpose .of frustrating the HAMP application process to ensure a

modification was ultimately declined, resulting in foreclosure. BOA employees knew these •

statements were false and some employees Were awarded cash incentives as well as restaurant

and retail gift cards for meeting quotas for declining modification applications in a given day or

week. See Exhibits 2. 3. 4. 5 and 6. In fact, Plaintiff's applications were intentionally lost within

BOA's databases or destroyed in order to prevent Plaintiff from receiving a HAMP modification.

       229.     Plaintiff believed these statements were true, relied on them, and as a result,

unnecessarilS, resubmitted their application and supporting information via U. S. Mail, fax, and

Federal Express more than nine (9) times. As a direct result, Plaintiff was damaged and suffered


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  a loss of the costs and time spent sending and resending their HAM? application on multiple -

  occasions when BOA had no intention of reviewing it.

         230. Plaintiff did not know, and could not have .reasonably discovered; that these"

 statements were -false until. she .retained her attorneys in this matter in March 2017. Plaintiff

 reasonably relied on the statements of-Defendant's employees that-Plaintiff's HAMP application..

• -was not complete. .Plaintiff contacted Defendant repeatedly throughout this process to ensure

 proper compliance with HAM? as evidenced by. her. repeated submission of the application, and •

 there were. no resources reasonably available to a non-attorney borrower such. as40..

.contradict Defendant's false statements. Eric; Monice, and others falsely told Plaintiff that her -

 application was not current or missing, even though the application was proper and complete, to

 further the scheme to delay the HAMP modification .to ultimately deny it. Defendant's

 subsequent false statement on August 2, 2009 that the HAMP application was approved also

 caused Plaintiff to believe that these submissions were incomplete.

        231.   By making these misrepresentations, BOA profited by avoiding the administrative

costs of a good faith processing of Plaintiff's modification application as was required under the

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiff's property.

          False Statements of Fact of Approval and Request for Trial Payments by BOA.

       232.    On or about August 2, 2009, BOA sent Plaintiff a letter stating her application was

"approved" and requested she make "trial payments" in the amount of $1,834.17 pursuant to the

Federal Government's Home Affordable Modification Program. This was false as the application

wasn't approved. Instead, BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.


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                         233. This false statement of fact and intentional omission was intended to cause

               Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

               processing her HAMP application, but to cause Plaintiff to send trial payments so BOA could

               retain those funds in an unapplied account for: profit after foreclosure or apply the funds to

               fraudulent inspection and other fees the bank charged. See Exhibits 2, 3., 4, 5 and.6;

                         234.    It was and is -BOA's practice to place "trial period payments....into. an unapplied

               account until" BOA made a decision on the borrowers' HAM:P application. See July 20,1016

•• •• • • •    Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6), Noelia Ramirez

              - v. Bank of America, NA., Hillsborough County File No.: 16-CA-722. , BOA employees

               fraudulently omitted this fact when requesting the Plaintiffs make trial payments.

                      235. Relying on BOA's misrepresentations, Plaintiff made sixteen (16) payments of

               $1,834.17 from 2009 through 2010, hoping to save her home.

                      236. Further, as a direct result of relying on BOA's misrepresentations and intentional

               omissions, on October 6, 2010, BOA sent Plaintiff a notice of foreclosure. As a result of this

              notice, Plaintiff was forced to short sale her home on February 7, 2011 in the amount of

              $207,000.00, $97,000.00 less than her original mortgage amount. Plaintiff moved out of her home

              in 2010.

                     237.       Plaintiff suffered damages in the amount of the trial payments when BOA placed

              those payments in an unapplied account and refused to credit her account, the loss of her home

              and the equity in that home, as well as damage to her credit and the loss of some or all of the

              funds paid to BOA for trial payments.

                     238.       By making these misrepresentations, BOA profited by retaining Plaintiff's trial

              payments for profit. BOA further profited by forcing Plaintiff into foreclosure and avoiding the

                    Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 59 of 177
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 administrative costs of a good faith processing of Plaintiff's modification application as was.

required under the Agreement the bank executed with.the Federal Government. See Exhibit 1 at

Sec. 2A.. BOA also profited since Plaintiff expended time and money and last the opportunity to

pursue other loss mitigation options reasonably available•to Plaintiff to prevent foreclosure, like

alternative financing, while awaiting BOA's decision on the modification application. • Plaintiff's

lost opportunity was a direct and proximate cause of the subsequent foreclosure and short sale

from which Defendant benefited, as set forth herein. •

•      239. Plaintiffs.; did. not know and could not have reasonably discovered that the              .

statement's herein were false and/or that her trial payments were not applied to her account until

she retained her attorneys in this matter in March 2017. Plaintiff contacted Defendant repeatedly

throughout this process to ensure proper compliance with HAMP as evidenced by her repeated

submission of the application and repeated contact with Defendant, and there were no resources

reasonably available to a non-attorney borrower such as Plaintiff to contradict Defendant's false

statements.

                Fraudulent Omission of the Application of Inspection Fees by BOA

       240. Despite the fact that Plaintiff lived in her home until 2010, BOA charged her

account for a "Property Inspection" on two (2) occasions in 2009 while she was living in the

home. More specifically, she Was charged for a Property Inspection on March 2, 2009. and again

on April 27,2009. These inspection fees are impermissible under the HUD Servicing'Guidelines

and are but one example of the fraudulent charges for which BOA applied to Plaintiffs account

and added to the foreclosure judgment amount.




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        241.    BOA committed common law fraud upon Plaintiff when throughout the HAMP-

 application process BOA employees omitted the fact that the bank was conducting unnecessary

 and improper inspections on her home and charging her account inspection-fees. •

        242. .BOA -committed common law fraud upon Plaintiff when the bank requested she - • .

make trial payments during the HAMP application and omitted the fact that it had no intention of •

approving- the application and intended to apply some-of the funds sent- by Plaintiff -for trial • • •

payments to fraudulent inspection fees.

        243. . The fraudulent omission of the -bank's practice of applying trial payments to

continuing-inspection fees mislead the Plaintiff into believing her trial payments would he applied _

to her mortgage and were for the purpose of-final approval of her HAMP application. BOA had

a duty inform Plaintiff of this practice and intentionally refused to do so.

        244.   As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

trial payments she believed were for fmal approval of her HAMP application. BOA profited by

charging Plaintiff's account for the inspection fees and applying some of the trig payments

received from Plaintiff and retaining those funds for profit.

       245. • Plaintiff did not know the inspections were taking-place, nor did she know that she

was being charged for these inspections. Even if Plaintiff could have known about the inspections

or the charges, she did not know and could not have known that the inspections and consequent

charges were not permitted and were unlawful.

       246.    Plaintiff-did -not know and could not -have reasonably discovered that BOA was -

charging improper inspection fees and diverting a portion of her trial payments to pay those fees • •

until she retained her attorneys in this matter in December 2016.




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        247.    Upon information and belief, BOA further profited by using Plaintiffs HAMP

 application to make false claims for incentive payments to the United State. Department of

 Treasury in the amount of $1,000.00 or $2,000.00, effectively using Plaintiff as a pawn to defraud

 the Federal Government. U.S. v. Bank of America NA et al., case number. 1:11-cv-03270,

 (E.D.N.Y.).

                                 FACTUAL ALLEGATIONS
                             PLAINTIFF #9 KIMBERLY STEPHAN

        248.   Plaintiff is a citizen of Macomb County, Michigan, residing at 37753 Agar Drive,

Sterling Heights, Michigan:

        249.   On September 8, 1998, Plaintiff', Kimberly (Carpenter) Stephan, executed a

mortgage and note for her home located at 557 East Oakridge, Ferndale, Michigan in the amount

of $71,500.00 with regular monthly payments of $731.50. The lender was Countrywide. Plaintiff

subsequently refinanced her mortgage.

       250.    Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan

was assigned a number: (redacted but known to BOA and available by request).

       251.    After experiencing financial hardship, due in part to the state of the economy,

Plaintiff contacted BOA by phone in January 2010 requesting a HAMP modification.

       252.    Although Plaintiff was in imminent default, at all relevant times, she had viable

and reasonable alternatives to foreclosure including but not necessarily limited to alternative

financing that were eliminated as a direct and proximate cause of Defendant's wrongful acts

alleged in this Complaint.

               False Statements of Fact Concerning HAMP Eligibility by Defendant

       253.    On or about January 2, 2010, a BOA loan representative advised Plaintiff by phone

to refrain from making her regular mortgage payments. This BOA loan representative specifically
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 told Plaintiff being "stop making her complete mortgage payments" on her mortgage loan as

 default was a prerequisite for HAMP modification eligibility.' Relying on this statement,

• Plaintiff remained in.default and/or stopped making regular monthly mortgage payments. Plaintiff.

 was told to remain in default and/or.to stop making regular monthly mortgage payments on more • .

 than one occasion throughout the application process. Although the Plaintiff did not know it until

 she contacted an attorney in.February 2017, this statement was false as default was not required

 for HAMP eligibility. This BOA loan representative omitted the fact that eligibility was.available
                                           •'
 for HAMP to .borrowers. if -default was reasonably foreseeable. Plaintiff was told this- false ..

information as part of BOA's-scheme, as outlined above, in an effort to prevent her from receiving

a HAMP modification.

         254. This BOA representative knew the statement was false when made and

intentionally omitted that only imminent default was required for HAMP eligibility. The

statement and omission was made to induce the Plaintiff to rely on them. The statements were

specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by, inter

alit:, receiving HAMP payments and acquiring the Plaintiff's home by foreclosure. Plaintiff

believed she was required to be in default on her mortgage because this is what BOA employees

told her and was misled into believing that fact because the fact that only imminent default was

required was intentionally omitted.

        255. Relying on the false statement and omission, Plaintiff refrained from making her

regular mortgage payment and fell into default status. Thereafter, Plaintiff made HAMP trial

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiff's default status as an



12 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.
      Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 63 of 177
Page 63
  excuse to refuse to apply these payments to Plaintiff's account. BOA's actions resulted in further

  default and foreclosure of Plaintiff's home. Plaintiff lost her home, the equity in her home and

  money paid as trial' payments as a direct result of BOA's fraudulent statements of fact. ,BOA

  profited by.retaining Plaintiff's trial payments and foreclosing on Plaintiff's .home.

         256. Plaintiff did not know, and could not have reasonably discovered, that these

  statements were false until she retained her attorneys in this matter in February 2017, nor could

 Plaintiff know or reasonably have discovered.the orchestrated fraudulent scheme set forth in this.. . .

• Complaint- until she retained her. attorneys. Plaintiff reasonably relied ..on .the statements of

 Defendant's employees that Plaintiff must be in default in order to .qualify for HAMP. Plaintiff'

 contacted Defendant repeatedly throughout this process to ensure proper compliance with

 HAMP's requirements, and there were no resources reasonably available to. a non-attorney

 borrower such as Plaintiff to contradict Defendant's false statements.


          False Statements of Fact Concerning Plaintiff's RAMP Application by Defendant


        257. On or about January 2010 BOA provided Plaintiff a HAMP application and she

 properly completed the application and returned it to BOA with the requested supporting financial

 documents.

        258.    However, as part of BOA's fraudulent scheme, once the application was

 submitted, on or about February 2,2010, Plaintiff was falsely informed by BOA employees over

the phone that the documents were "incomplete," "not current," or "stale."I3 The same or similar

statements were made on subsequent phone calls with BOA employees. BOA employees knew



13 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.

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 these representations were false and this practice was policy and procedure at BOA. • See Exhibits

 2 3 4 5 and 6. In fact, Plaintiff's applications were intentionally lost within BOA's databases

 or destroyed in order to prevent Plaintiff's from receiving a HAMP modification.

        259. - These false statements were made by BOA employees for the purpose of inducing

 Plaintiff to resend het- modification application over and over in order to frustrate the application

process.

  ...   260.. These misrepresentations were made to Plaintiff by BOA representatives not for.

the purpose of processing Plaintiff's application in good faith, but instead for .the specific purpose

of frustrating the HAMP application process to ensure a modification was ultimately.declined,

resulting in foreclosure. BOA employees knew these statements were false and some employees

were awarded cash incentives as well as restaurant and retail gift cards for meeting quotas for

declining modification applications in a given day or week. See Exhibits 2. 3. 4. 5 and 6. In fact,

Plaintiff's applications were intentionally lost within BOA's databases or destroyed in order to

prevent Plaintiff from receiving a HAMP modification.

        261.   Plaintiff believed these statements was true, relied on them, and as a result,

unnecessarily resubmitted her application and supporting information via U. S. Mail, fax, and •

Federal Express more than six (6) times. As a direct result, Plaintiff was damaged and suffered a

loss of the costs and time spent sending and resending their HAMP application on multiple

Occasions when BOA had no intention of reviewing it.

        262.   Plaintiff did not know, and could not have reasonably discovered, that these

statements were false until she retained her attorneys in this matter in February 2017. Plaintiff

reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application

was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure


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 proper compliance with•HAMP as evidenced by her repeated submission of the application, and

 there were no resources reasonably available to a non-attorney borrower such as -Plaintiff to

 contradict Defendant's false statements. BOA employees falsely told Plaintiff that her application

•was not current or missing, even though the application was proper and complete, to further the ,

 scheme to delay the HAMP modification to ultimately deny it. Defendant's subsequent false

 statement on April 1, 2010 that• the HAMP application was approved also caused Plaintiff to

 believe that these submissions.were incomplete.

     •••• 263. —Bymaking these misrepresentations, BOA profited by avoiding the administrative •

costs of a good faith processing of Plaintiff's modification application as was required under the • -

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiff's property.

           False Statements of Fact of Approval and Request for Trial Payments by BOA

        264.   On or about April 1, 2010, BOA sent Plaintiff a letter stating her application was

"approved" and requested she make "trial payments" in the amount of $585.28 pursuant to the

Federal Government's Home Affordable Modification Program. This was false as the application

wasn't approved. Instead; BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.

       265.    This .false statement of fact and intentional omission was intended to cause

Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or •

processing her HAMP application, but to cause Plaintiff to send trial payments so BOA could

retain those funds in an unapplied account for profit after foreclosure or apply the funds to

fraudulent inspection and other fees the bank charged. See Exhibits 2. 3, 4. 5 and 6.

       266.    It was and is BOA's practice to place "trial period payments... .into an unapplied •



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     account until" BOA made a decision on the borrowers' HAMP application; See July 20, 2016

•    Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.3] 0(b)6), Noelia Ramirez

     v. Bank of America, N.A., •Hillsborough County File - No.: 16-CA-722. BOA employees

. . fraudulently omitted this fact when requesting the Plaintiffs make trial payments.      .

        - . 267. Relying on BOA's misrepresentations, Plaintiff made six (6) payments of

     $585.28 in 2010, hoping to save, her home.

       •    268. Further, as a direct result of relying on BOA's misrepresentations and intentional

     omissions, on June 7, 2011, Plaintiff's home was.. foreclosed by BOA. As a result of .the

    foreclosure, a Judgment in the amount of $89,096.00 was entered against Plaintiff; $17,596.00 - • •

    more than her.original mortgage. Plaintiff moved out of her home in 2010.

            269.   Plaintiff suffered damages in the amount of the trial payments when BOA:placed

    those payments in an unapplied account and refused to credit her account, the loss of her home

    and the equity in that home, as well as damage to her credit and the loss of some or all of the

    funds paid to BOA for trial payments:

            270.   By making these misrepresentations, BOA profited.by retaining Plaintiff's trial

    payments for profit. BOA further profited by forcing Plaintiff into foreclosure and avoiding the

    administrative costs of a good faith processing of Plaintiff's modification application as was

    required under the Agreement the bank executed with the Federal Government. See Exhibit 1 at

    Sec. 2A. BOA also profited since Plaintiff expended time and money and lost the opportunity to

    pursue other loss mitigation options reasonably available to Plaintiff to prevent foreclosure, like

    alternative financing, while awaiting BOA's decision on the modification application. Plaintiff's

    lost opportunity was a direct and proximate cause of the subsequent foreclosure and short sale

    from which Defendant benefited, as set forth herein.


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         271. Plaintiffs did not know and could not have -reasonably discovered that the

  statements herein were false and/or that her trial payments were not applied.to her account until

  she retained her: attorneys • in •this matter in .February 2017. Plaintiff contacted Defendant-

 repeatedly throughout this process to ensure proper compliance with HAMP as evidenced by her . •

 repeated siibmission of the application and repeated contact with Defendant; and there were no

' resources reasonably available to a non-attorney borrower such as Plaintiff to contradict

 Defendant's false statements.

                 Fraudulent Omission of the Application of Inspection Fees by BOA

        272.. Despite the. fact that Plaintiff lived in her home-until 2012, BOA charged her

 account for a "Property Inspection" on October 28, 2010 while she was living.in the home. These

 inspection fees are impermissible under the HUD Servicing Guidelines and are but one example

 of the fraudulent charges for which BOA applied to Plaintiff's account and added to the

 foreclosure judgment amount

        273.   BOA committed common law fraud upon Plaintiff when throughout the HAMP

 application process BOA employees omitted the fact that the bank was conducting unnecessary

 and improper inspections on her home and charging.her account inspection fees.

        274.   BOA committed common law fraud upon Plaintiff when the bank requested she

make trial payments during the HAMP application and omitted the fact that it had no intention of

approving- the application and intended to apply some of the funds sent by Plaintiff for trial

payments to fraudulent inspection fees.

       275.    The fraudulent omission of the bank's practice of applying trial payments to

continuing inspection fees mislead the Plaintiff into believing her trial payments would be applied




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 to her mortgage and were-for the purpose of final approval of her HAMP application. • BOA had

 a duty inform Plaintiff of this practice and intentionally refused to do so.

        276. As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

 trial payments she believed-were for final approval of her HAMP application: -BOA profited-by-

 charging Plaintiffs account for the inspection fees and applying some of the trial payments

 received from Plaintiff-and retaining those funds for profit.

        277. Plaintiff did not know the inspections were taking place, nor did she know that she

 was being charged for these inspections. Even if Plaintiff could have known aboutthe inspections

or the charges, she did not know and could mit have known that the inspections and consequent

charges were not permitted and-were unlawful.

        278.   Plaintiff did not know and could not have reasonably discovered that BOA was

charging improper inspection fees and diverting a portion of her trial payments to pay those fees

until she retained her attorneys in this matter in February 2017.

        279.   Upon information and belief, BOA further profited by using Plaintiffs' HAMP

application to make false claims for incentive payments to the United State Department of

Treasury in the amount of $1,000.00 or $2,000:00, effectively using Plaintiffs as a pawn to

defraud the Federal Government. U.S. v. Bank of America NA et al., case number 1:11-cv-03270, •

(E.D.N.Y.).

                               FACTUAL ALLEGATIONS
                            PLAINTIFF #10 KEITH PEACOCK


       280.    Plaintiff is a citizen of Sacramento County, California, residing at 101 Ted Ford

Court, Folsom, California




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         281.     On November 6, 2007, Plaintiff Keith Peacock, executed &mortgage and note for

 his home located at 8209 Terral and Court, Citrus Heights, California, in the amount of

 $285,000.00 with regular monthly payments set at $2,498.04. The lender was Plaza Home

 Mortgage, Inc.

        282.      Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan

 was assigned a number: (redacted but known to BOA and available by request)..

        283.    After experiencing financial hardship, due in part to the state of the economy, - •

 Plaintiffs contacted BOA by phone in February 2009 requesting a HAMP modification.

        284.    Although Plaintiff was in imminent default, at all relevant times, he had viable and

reasonable alternatives to foreclosure including but not necessarily limited to a short sale, deed in

lieu of foreclosure, or alternative financing that were eliminated as a direct and proximate cause

of Defendant's wrongful acts alleged in this Complaint.

                False Statements of Fact Concerning HAMP Eligibility by Defendant

        285.    On or about February 8,2009, BOA loan representative, Andrew, advised Plaintiff

by phone to refrain from making his regular mortgage payments. BOA representative Andrew

specifically told Plaintiff being "he had to be at least 30 days past due to apply for .a HAMP

modification." Relying on this statement, Plaintiff remained in default and/or stopped making

regular monthly mortgage payments. Plaintiff was told to remain in default and/or to stop making

regular monthly mortgage payments on more than one occasion throughout the application

process. Although the Plaintiff did not know it until he contacted an attorney in April 2017, this

statement was false as default was not required for HAMP eligibility. BOA loan representative,

Andrew, omitted the fact that eligibility was available for HAMP to borrowers if default was




        Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 70 of 177
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 reasonably foreseeable. Plaintiff was told this false information as part of BOA's scheme, as

 outlined above,, in an effort to prevent them from receiving a•HAMP modification.

        286: BOA -representative Andrew knew the statement was false when made and

 intentionally omitted that only imminent default was required for HAMP eligibility; The •

 statements and.omissions were made to induce the Plaintiff to rely on them: The statements were

 specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by, inter

 alia, receiving HAMP payments and acquiring the Plaintiff's home by foreclosure. Plaintiff .

believed he was .required.to be in default on his mortgage because this is what BOA employees          .

told him and was misled into believing that fact because the fact that only imminent default was

required was intentionally omitted.

        287.    Relying on the false statement and omission, Plaintiff refrained from making his

regular mortgage payment and fell into default status. Thereafter, Plaintiff made HAMP trial

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiffs default status as an

excuse to refuse to apply these payments to Plaintiffs account. BOA's actions resulted in further

default and foreclosure of Plaintiff's home. Plaintiff lost his home, the equity in his home and

money paid as trial payments as a direct result of BOA's fraudulent statements of fact. BOA

profited by retaining 'Plaintiff s trial payments and foreclosing on Plaintiff's home.

       288.    Plaintiff did not know, and could not have reasonably discovered, that these

statements were false until he retained his attorneys in this matter in February 2009, nor could • -

Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

Complaint until he retained his attorneys. Plaintiff reasonably relied on the statements of

Defendant's employees that Plaintiff must be in default in order to qualify for HAMP. Plaintiff

contacted Defendant repeatedly throughout this process to ensure proper compliance with



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 HAlvfP's requirements, and there were no resources reasonably available to a non-attorney

 borrower such as Plaintiff to contradict Defendant's false statements.


            False Statements of Fact Concerning Plaintiff's HAMP Application by Defendant


           289.   In April 2009, BOA provided Plaintiff a HAMP application and he properly

 completed the application and returned it to BOA via fax with the requested supporting.fmancial •

 documents,

           290.   However, as part of BOA's fraudulent scheme, on September 1, 2009 Plaintiff was

 falsely informed by a BOA employee over the phone that the documents he had submitted were

"misplaced" and that he would need "to start the entire process all over again"." The same or

similar statements were made on subsequent phone calls with BOA employees. BOA employees

knew these representations were false and this practice was policy and procedure at BOA. See

Exhibits 2. 3, 4, 5 and 6. In fact, Plaintiff's applications were intentionally lost within BOA's

databases or destroyed in order to prevent Plaintiff from receiving a HAMP modification.

        291.      These false statements were made by BOA employees for the purpose of inducing

Plaintiff to resend his modification application over and over in order to frustrate the application

process.

        292.      Plaintiff was routinely assigned a new account representative unfamiliar,with the

previous representative's work and were forced to resubmit the application. Between February 2,

2009 and February. 29, 2010, Plaintiff spoke with fifty-seven (57) BOA Customer Relation

Managers, and sixteen (16) BOA Supervisors. Each BOA CRM or supervisor would tell Plaintiff



14 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.


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 something different. For example, on March 3, 2010 BOA Supervisor "Troy Davis" told Plaintiff

 to make "trial payments of $1919.82." However, four weeks later on April 5, 2010, BOA

 employee "Rosie" advised Plaintiff to make "trial payments of $1891.61." These

 misrepresentations were made to Plaintiff by BOA representatives for the specific purpose of

 frustrating the HAMP application process and to ensure a modification was ultimately declined

resulting in foreclosure or short sale.

        293.   These misrepresentations were made to Plaintiff by BOA representatives not for

the purpose of processing Plaintifrs application in good faith, but instead for the specific purpose

of frustrating the HAMP application process to ensure a modification was ultimately declined,

resulting in foreclosure. BOA employees knew these statements were false and some.employees

were awarded cash incentives as well as restaurant and retail gift cards for meeting quotas for

declining modification applications in a given day or week. See Exhibits 2. 3. 4. 5 and 6. In fact,

Plaintiff's applications were intentionally lost within BOA's databases or destroyed in order to

prevent Plaintiff from receiving a HAM? modification.

       294. Plaintiff believed these statements were trim, relied on them, and as a result,

unnecessarily resubmitted his application and supporting information via U. S. Mail, fax, and

Federal Express more than fifteen (15) times. As a direct result, Plaintiff was damaged and

suffered a loss of the costs and time spent sending and resending his HAMP application on

multiple occasions when BOA had no intention of reviewing it.

       295.    Plaintiff did not know, and could not have reasonably discovered, that these

statements were false until he retained his attorneys in this matter in April 2017. Plaintiff

reasonably relied on the statements of Defendant's employees that Plaintiff's HAMP application

was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure



Page I 73Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 73 of 177
 proper compliance with HAMP as evidenced by his repeated submission of the application, and

 there were no resources reasonably available to a non-attorney borrower such as Plaintiff to

 contradict Defendant's false statements. BOA employees falsely told Plaintiff that his application

 was not current or missing, even though the application was proper and complete, to further the

 scheme to delay the HAMP modification to ultimately deny it. • Defendant's subsequent false -

'statement on September 2, 2009 that the HAMP application was approved also caused Plaintiff

 to believe that these submissions were incomplete.

     . .296. Brmaking these misrepresentations, BOA profited by avoiding the administrative

costs of a good faith processing ofPlaintiffs'• modification application as was required under the.

Agreement the bank executed with the Federal Government. See Exhibit 1 at Sec. 2A. BOA

further profited by denying the modification and proceeding to foreclose on Plaintiff's property. -

           False Statements of Fact of Approval and Request for Trial Payments by BOA

        297.     On September 2, 2009 a BOA loan representative verbally informed Plaintiff he

was "approved" and requested he make "trial payments" of $1600.00 pursuant to the Federal

Government's Home Affordable Modification Program:15 This was false as the application wasn't

approved. Instead, BOA had no intention of approving the application and this fact was

fraudulently omitted from the Plaintiffs.

        298.    This false statement of fact and intentional omission was intended to cause

Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

Processing his HAMP application, but to cause Plaintiff to send trial payments so -BOA could




13 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, [PORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.

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 retain those funds in an unapplied account for profit after foreclosure or apply. the funds to

 fraudulentinspection and other fees the bank charged. See Exhibits 2. 3. 4. 5 and 6. •

      . 299. It was and is BOA' s practice to place "trial period payments... .into an unapplied

 account until" BOA made a decision. on the borrowers' HAMP application. See July 20, 2016

 Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310)6), Noelia Ramirez

 v. Bank of America, N.A., Hillsborough County File No.: 16-CA-722. BOA employees

 fraudulently omitted this fact when requesting the Plaintiffs make trial payments. .

        300.. After making "trial payments of $1600.00" as.directed by the BOA representative,

 on March 3, 2010 BOA Supervisor "Troy Davis" falsely told Plaintiff to make HAMP "trial

payments of $1919.82."-However, four. weeks later on April 5, 2010, BOA employee "Rosie". .

 falsely advised Plaintiff to make "trial payments of $1891.61."

        301. This false statement of fact and intentional omission was intended to cause

Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

processing his HAMP application, but to came Plaintiff to send trial payments so BOA could

retain those funds in an imapplied account for profit after foreclosure or apply the funds to -

fraudulent inspection and other fees the bank charged.

 .     302. Relying on B0A's misrepresentations, Plaintiff made five (5) payments of

$1,919.82 in 2009 and 2010, hoping to save his home. Further, as a direct result of relying on

BOA's misrepresentations and intentional omissions, on October 4, 2012, Plaintiff was forcedlo

short sale his home. Plaintiff moved out of his home in 2012.

       303. Plaintiff suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account and refused to credit his account, the loss of his home




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 and the equity in that home, as well as damage to his credit and the loss of some or all of the funds

 paid to BOA for trial payments.

        304.    By making these misrepresentations, BOA profited by retaining Plaintiff's trial

 payments for profit. BOA further profited by forcing Plaintiffs into foreclosure and avoiding the

 administrative costs of a good faith processing of Plaintiffs modification application as was

 required under the Agreement the bank executed with the Federal Government. See Exhibit 1 at

 Sec. 2A. BOA also profited since-Plaintiff expended time and money and lost the opportunity, to .

pursue other loss mitigation options•reasonably available to Plaintiff to prevent foreclosure like.

alternative financing while awaiting BOA's decision on the modification application. Plaintiffs

lost opportunity was a direct and proximate cause of the subsequent foreclosure from which

Defendant benefited, as set forth herein.

        305.   Plaintiff did not know and could not have reasonably discovered that the

statements herein were false and/or that his trial payments were not applied to his account until

he retained his attorneys in this matter in April 2017. Plaintiff contacted Defendant repeatedly

throughout this process to ensure proper compliance with HAMP as evidenced by his repeated

submission of the application and repeated contact with Defendant, and there were no resources

reasonably available to a non-attorney borrower such as Plaintiff to contradict Defendant's false

statements.

                Fraudulent Omission of the Application of Inspection Fees by BOA

       306.    Despite the fact that Plaintiff lived in his home until 2012, BOA charged his

account for a "Property Inspection" on eight (8) occasions from 2010, all while he was living in

the home. More specifically, he was charged for a Property Inspection fees beginning on January

6, 2010 with the last fee being charged July 29, 2010. These inspection fees are impermissible



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 under the HUD Servicing Guidelines and are but one example of the fraudulent charges for which

 BOA applied to Plaintiffs' account and added to the foreclosure judgment amount.

        307: BOA committed common law fraud upon Plaintiff when throughout the HAMP.

 application process BOA employees omitted the fact that the bank was conducting unnecessary

 and improper ihsctions on his home and charging his account inspection fees.

        308. BOA committed common law fraud upon21aintiff when the bank requested he

make trial-payments during the•HAMP application and omitted the fact that it had no intention of

approving the application and intended to 'apply some of the funds sent by Plaintiff for trial

payments to fraudulent inspection fees: -

        309: The fraudulent omission, of the bank's practice of applying trial payments to •

continuing inspection fees mislead the Plaintiff into believing his trial payments would be applied

to his mortgage and were for the purpose of final approval of his HAMP application. BOA had

a duty inform Plaintiff of this practice and intentionally refused to do so.

       310. As a direct result of the.omission, Plaintiff lost some of the funds sent to BOA for

trial payments he believed were for final approval of his HAMP application. BOA profited by

charging Plaintiff's account for the inspection fees and applying some of the 'trial payments

received from Plaintiff and retaining those funds for profit.

       311. Plaintiff did not know the inspections were taking place, nor did he know that he

was being charged for these inspections. Even if Plaintiff could have known about the inspections •

or the charges, he did not know and could not have known that the inspections and consequent •

charges were not permitted and were unlawful.




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        312. Plaintiff did not know and •could not have reasonably discovered that. BOA was

 charging improper inspection fees and diverting a portion of his trial payments to pay those fees

 until he retained his attorneys in this matter in April 2017.

      • 313. Upon information and belief, BOA further profited by using Plaintiff's 'HAMP •

application to make false claims for, incentive payments to the United :State Department of • -

Treasury in the amount-of -$1,00Q.00 or $2,000.00, effectively using Plaintiffs • as a pawn • to •

defraud the Federal Government: US. v. Bank of America NA etal., case numberl :11-cv-03270, •

(E.D.N.Y.).

                              • FACTUAL ALLEGATIONS .
                             PLAINTIFF #11 ZELMON MCBRIDE

        314.   Plaintiff is a citizen of Clark County, Nevada, residing at 10200 Giles Street,

Apartment 1152, Las Vegas, Nevada.

        315.   On September 28, 2006, Plaintiff; Zelmon McBride, executed a mortgage and note

for his home located at 33713 North 234 Drive, Phoenix, Arizona, in the amount of $417,000.00

with regular monthly payments set at $2,365.93. The lender was Universal American Mortgage

Company, LLC.

       316.    Subsequently, BOA began servicing the Plaintiff's home mortgage and the loan

was assigned a number: (redacted but known to BOA and available by request).

       317.    After experiencing financial hardship, due in part to the state of the economy,

Plaintiffs contacted BOA by phone in June 2009 requesting a HAMF' modification.

       318.    Although Plaintiff was in imminent default, at all relevant times, he had viable and

reasonable alternatives to foreclosure including but not necessarily limited to an alternative

financing that were eliminated as a direct and proximate cause of Defendant's wrongful acts

alleged in this Complaint.

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             False Statements of Fact Concerning HAMP Eligibility by Defendant • •

         319. On or about-June 29, 2009, BOA loan representative, Maria, advised and directed .

  Plaintiff by phone to refrain from making his regular mortgage payments. Maria specifically told -

  Plaintiff "he had to miss three payments to be eligible for a HAMP modification.'.' .Relying on this -

 .statement, Plaintiff remained in default and/or stopped making regular monthly mortgage

. payments. Plaintiff waslold to remain in default and/or to stop making regular monthly mortgage .

 payments on more than one 'occasion throughout the application process. Although the Plaintiff. ,

 did not know it until le.contacted an attorney in April 2017, this statement- was false .as. default... .

 was not required for HAMP eligibility. BOA loan representative, Maria, omitted the fact that . • -

 eligibility was available for HAMP to borrowers if default was reasonably foreseeable. Plaintiff

 was told this false information as part of BOA's scheme, as outlined above, in an effort to prevent

 them from receiving a HAMP modification.

         320. BOA representative Maria knew the statement was false when made and

 intentionally omitted that only imminent default was required for HAMP eligibility. The

 statement and omission was made to induce the Plaintiff to rely on them. The statements were

 specifically designed by BOA to set Plaintiff up for foreclosure so BOA could benefit by, inter

 alia, receiving HAMP payments and acquiring the Plaintifrs home by foreclosure. Plaintiff

 believed he was required to be in default on his mortgage because this is what BOA employees

told him and was misled into believing that fact because the fact that only imminent default was
                                                     :.
required was intentionally omitted.

        321. Relying on the false statement and omission, Plaintiff refrained from malting his -

regular mortgage payment and fell into default status. Thereafter, Plaintiff made HAMP trial

payments, as set forth elsewhere in the Complaint, but BOA used Plaintiffs default status as an



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  excuse to refuse to apply these payments to Plaintiff's account. BOA's actions resulted in further

 default and foreclosure of Plaintiff's home. Plaintiff lost his home, the equity in his home and

•money paid as trial payments as a direct result of BOA's fraudulent statements of fact.- BOA.

 profited by retaining.Plaintiff s trial payments.and foreclosing on Plaintiff's. home.

         322: Plaintiff did not, know, and could not have reasonably discovered, that these

 statements were false until he retained his. attorneys in this matter in April 2017,- nor colild

 Plaintiff know or reasonably have discovered the orchestrated fraudulent scheme set forth in this

 Complaint until he retained his attorneys. Plaintiff reasonably relied on the statements of

 Defendant's employees that Plaintiff must be in default in order to qualify for HAMP. Plaintiff.

 contacted Defendant repeatedly throughout this process to ensure proper compliance with

HAMP's requirements, and there were no resources reasonably available to a non-attorney

borrower such as Plaintiff to contradict Defendant's false statements.


          False Statements of Fact Concerning Plaintiffs HAMP Application by Defendant


         323. On or around November 16, 2009, BOA provided Plaintiff a HAMP application

and he properly completed the application and returned it to BOA via mail with. the requested

supporting financial documents.

        324.. However, as part of BOA's fraudulent scheme, on or about September 1, 2009

Plaintiff was falsely informed by a BOA employee that his documents were "never received" or

"incomplete".16 The same or similar statements were made on subsequent phone calls with BOA

employees. BOA employees knew these representations were false and this practice was policy



16 The name of this BOA employee is within the exclusive possession of the Defendant and can be specifically
identified through the bank's computer programs known as SIEBEL, LAMP, Homesaver, IPORTAL and AS/400
system, which logs all calls from borrowers and identifies the BOA employee taking the call by name.


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   and procedure at BOA.       See Exhibits 2, 3, 4, 5 and 6. In fact, Plaintiff's applications were •

   intentionally lost within BOA's _databases • or destroyed in order to prevent Plaintiff's from

   receiving a HAMP modification:

           •325. These false statements were made by BOA employees for the purpose of inducing....

   Plaintiff to resend his modification application over and over in order to frustrate the application,

- process... •

          326: • These misrepresentations were made to Plaintiff by BOA representatives, not for

   the purpose of processing Plaintiff's application in good faith, but instead for the specific purpose

   of frustrating the, HAMP application process to ensure a modification was ultimately declined,

   resulting in foreclosure. BOA employees knew these statements were false and some employees

   were awarded cash incentives as well as restaurant and retail gift cards for meeting quotas for

  declining modification applications in a given day or week. See Exhibits 2.3. 4.5 and 6. In fact,

  Plaintiff's applications were intentionally lost within BOA's databases or destroyed in order to

  prevent Plaintiff from receiving a HAMP modification. -

          327.    Plaintiffs believed these statements were true, relied on them, and as a result,

  unnecessarily resubmitted their application and supporting information via U. S. Mail, and

  Federal Express more than three (3) times. As a direct result, Plaintiffs were damaged and

  suffered a loss of the costs and time spent sending and resending their HAMP application on

  multiple occasions when BOA had no intention of reviewing it.

         328.    Plaintiff did not know, and could not have reasonably discovered, that these

  statements were false until he retained his attorneys in this matter in April 2017. Plaintiff

  reasonably relied on the statements of Defendant's employees that Plaintiffs HAMP application

  was not complete. Plaintiff contacted Defendant repeatedly throughout this process to ensure



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   proper compliance with HAMP as evidenced by his-repeated submission of the application, and

   there were no resources reasonably available to a non-attorney borrower such as Plaintiff to .

   contradict Defendant's false statements. BOA employees falsely told Plaintiff that his application

   was not cturent or.missing, even though the application was proper and complete, to further .the

- • scheme to delay the HAMP modification to ultimately deny. it. - Defendant's subsequent false.

   statement on November 16, 2009 that the HAMP application was approved also caused.Plaintiff

   to believe that these submissions were incomplete:        •

          329.-- By making these misrepresentations, BOA•profited by avoiding the administrative

  costs of a good faith processing of Plaintiff's modification application as was required under the: .

  Agreement the bank executed with the Federal -.Government See Exhibit 1 at Sec. 2A. BOA

  firther profited by denying the modification and proceeding to foreclose on Plaintiff's property.

            False Statements of Fact of Approval and Request for Trial Payments by. BOA •

         330.    On November 16, 2009 BOA sent Plaintiff a letter stating his application was

  "approved" and requested he make "trial payments" in the amount of $1,515.31 pursuant to the

  Federal Government's Home Affordable Modification Program. This was false as the application

  wasn't approved. Instead, BOA had no intention of approving the application and this fact was

  fraudulently omitted from the Plaintiffs.

         331.    This false statement of fact and intentional omission was intended to cause

  Plaintiff to make trial payments to BOA, not for the purpose of compliance with HAMP or

  processing his HAMP application, but to cause Plaintiff to send trial payments so BOA could

  retain those funds in an unapplied account for profit after foreclosure or apply the funds to

  fraudulent inspection and other fees the bank charged. See Exhibits 2.3. 4, 5 and 6.

         332.   It was and is BOA's practice to place "trial period payments....into an unapplied



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 account until" BOA made a decision on the borrowers' HAMP application. See July 20, 2016

 Deposition of BOA Representative, Lonnie S. Mills, pursuant to Rule 1.310(b)6), Nadia Ramirez

 v. Bank of America, NA:, Hillsborough County File No.: 16-CA-722. BOA employees

 fraudulently omitted this fact when requesting the Plaintiffs make trial payments. . •

        333. Relying on BOA's . misrepresentations, Plaintiff made six (6) payments Of

 $1,515.31 in 2009 and 2010, hoping to save his home. Further, as a direct result of relying on

 BOA's misrepresentations and intentional omissions, on April 15, 2011, Plaintiff's home was

 foreclosed by Recontrust on behalf of BOA. Plaintiff moved out.of his home in 2011.

        334.. • Plaintiff.suffered damages in the amount of the trial payments when BOA placed

those payments in an unapplied account Sand refused to credit his account, the loss of his home-

and the equity in that home,.as well as damage to his credit and the loss of some or all of the funds •

paid to BOA for trial payments.

        335. By making these misrepresentations, BOA profited by retaining Plaintiff's trial

payments for profit. BOA further profited by forcing Plaintiffs into foreclosure and avoiding the

administrative costs of a good faith processing of Plaintiffs modification application as was

required under the Agreement the bank executed with the Federal Government. See Exhibit 1 at

Sec. 2A. BOA also profited since Plaintiff expended time and money and lost the opportunity to

pursue other loss mitigation options reasonably available to Plaintiff to prevent foreclosure like

alternative financing while awaiting BOA's decision on•the modification application. Plaintiff's

lost opportunity was a direct and proximate cause of the subsequent foreclosure from which

Defendant benefited, as set forth herein.

       336. Plaintiffs did not know and could not have reasonably • discovered that the

statements herein were false and/or that his trial payments were not applied to his account until



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 he retained his attorneys in this matter in April -2017. Plaintiff contacted Defendant repeatedly

 throughout this process to ensure proper compliance with HAMP as evidenced by his repeated

 submission ofthe application and repeated contact with Defendant, and there were no resources •

 reasonably available to a non-attorney borrower, such as 'Plaintiff to contradict Defendant's false

 statements:

                 Fraudulent Omission of the Application of Inspection Fees by BOA •

        337: Despite the -fact that Plaintiff lived in his home until 2011, BOA charged his

account for a "Property Inspection" on five (5) occasions beginning May 20, 2009 with the;last

Property Inspection fee being charged on November 23, 2009, all while he was living in the home.

These inspection fees are impermissible under the HUD Servicing Guidelines and -are but one

example of the fraudulent charges for which BOA applied to Plaintiffs' account and added to the

foreclosure judgment amount.

        338. BOA committed common law fraud upon Plaintiff when throughout the HAMP

application process BOA employees omitted the fact that the bank was conducting unnecessary

and improper inspections on his home and charging his account inspection fees.

        339. BOA Committed common law fraud upon .Plaintiff when the bank requested he

make trial payments during the HAMP application and omitted the fact that it had no intention of

approving the application and intended to apply some of the funds sent by Plaintiff for trial

payments to fraudulent inspection fees.

       340. The -fraudulent omission of the bank's practice of applying trial payments to

continuing inspection fees mislead the Plaintiff into believing his trial payments would be applied

to his mortgage and were for the purpose of final approval of his HAMP application. BOA had

a duty inform Plaintiff of this practice and intentionally refused to do so.



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          341.       As a direct result of the omission, Plaintiff lost some of the funds sent to BOA for

  trial payments he believed were for final approval of his HAMP application.. BOA profited by

- charging Plaintiff% account for the inspection, fees and applying some of the trial payments

  received from Plaintiff and retaining those funds for profit:

          342.       Plaintiff did not know the inspections were taking place, nor did he know that he

  was being charged for these inspections. Even if Plaintiff could have known about the inspections

 or the charges,' he did not know.and could not have known that the inspections and consequent

 •charges were not permitted and were unlawful.                                •      .

         343. .Plaintiff did not know and could not have reasonably discovered that BOA was

 charging improper inspection fees and diverting a portion ofhis trial payments to pay those fees

 until he retained his attorneys in this matter in April 201.7.

         344.    Upon information and belief, BOA further profited by using Plaintiffs' HAMP

 application to make false claims for incentive payments to the United State Department of

 Treasury in the amount of $1,000.00 or $2,000.00, effectively using Plaintiffs as a pawn to

 defraud the Federal Government US v. Bank ofAmerica NA et al., case number 1:11-cv-03270,

 (E.D.N.Y.-).


           BOA FRAUDULENTLY CONCEALED THE FACTS GIVING RISE TO THE
                          PLAINTIFFS' CLAIMS
         345.    Plaintiffs incorporate by reference all prior paragraphs of this Complaint as if fully

 set forth herein.

         346. The running of any statute of limitations has been tolled by reason of Defendant's

fraudulent concealment as set forth above in this Complaint. Defendants, through their affirmative

misrepresentations and omissions, actively concealed from Plaintiffs the series of secretive and



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 deceptive acts set forth in this Complaint that caused Plaintiffs to be unable to obtain a HAMP

 mortgage modification, ultimately resulting in ft foreclosure, bankruptcy, and/or short sale.

         347.. Plaintiffs were not aware and could not have reasonably discovered BOA's

 fraudulent behavior until they Tetained their attorneys in this matter.

         348. Defendant elected to conceal the true nature of its scheme by adopting and •

implementing procedures to conceal the extent and nature of its HAMP mortgage modification.

scheme. For example, the February 2017 sworn declaration by former BOA employee, Rodrigo

Heinle, explained BOA's strategy of borrowers submitting mortgage modification documents into

a black hole' by informing homeowners that modification documents were '.'incomplete and/or

missing .when they were not, or simply claiming files were 'under review' when they were not".

Exhibit 2. Further, this fraudulent scheme of concealment was continued by deleting HAMP

applications, sometimes as much as "up to six thousand application files in a single day." Exhibit

2.

      • 349. The nature of Plaintiffs' injuries and the relationship of such injuries to BOA's

scheme were inherently undiscoverable prior to the time Plaintiffs seeing retained their attorneys

in this matter.

        350.      Because the Plaintiffs did not know and could not have reasonably discovered the

facts that formed thehasis.of their fraud claims against BOA until they retained their attorneys in •

this matter, the time in which to file their claims under the applicable statute of limitations did

not begin to run until Plaintiffs retained their attorneys in this matter.

        351.      Plaintiffs did not discover, and could not, through the exercise of reasonable care

and due diligence, have discovered, BOA's fraudulent scheme that resulted in the notice of




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 foreclosure and ultimate•short sale of Plaintiffs' home until after they retained their attorneys in

 this matter.

        352. The lack of awareness 'concerning the causal .relationship between 'BO/Os .

 fraudulent scheme and Plaintiffs' foreclosure, short sale, or bankruptcy .was not the result of.

 silence or passive concealment. Defendants, engaged in deliberate acts (i.e. affirmative

misrepresentations, shredding documents, etc.) to prevent subsequent discovery. •

    • 353.      In the.alternative,'BOA's conduct made it impossible for Plaintiffs to discover the

that they - had a claim against .BOA within the applicable limitations period. in-particular,.

Defendant's intentional misrepresentations, omissions,. and systematic destruction oldocurnents-

constituted active concealment regarding the true nature of BOA's HAMP practices that

prevented Plaintiff from discovering the wrongful acts on which the causes of action are based.

Plaintiff did not discover the existence of BOA's fraudulent HAMP mortgage modification denial

scheme as the cause of her short sale and notice of foreclosure and other damages until around

the time Plaintiffs retained their attorneys in this matter. Thus, while Plaintiff acted diligently to

determine both the nature and the cause of the injuries, Plaintiff's efforts were thwarted by

Defendants' fraudulent concealment. Plaintiff filed this lawsuit within the applicable limitations

period of the date Plaintiff knew or through the exercise of reasonable care and due diligence

should have known of the claim. •

       354. Plaintiffs filed this lawsuit within the applicable limitations period when they had

a reasonable basis to bring the, claims asserted herein. See Exhibit 8. Further, per American Pipe

and Construction Co the statute of limitations is tolled until the denial of class certification.

American Pipe and Construction Co. et al., v. Utah, 414 U.S. 538, 94 S. Ct. 756 (1974). The

Plaintiffs are not attorneys and do not actively monitor the dockets of courts throughout the



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 country. There was no widespread media coverage of the matter, and BOA, who was uniquely

 aware of the facts which caused it to pay the government over a billion dollars, failed to provide

 any additional substantive disclosure to their borrowers who had applied for RAMP. of .their

 scheme.

        355. • The running.of any statute of limitations has been tolled by reason Of Defendants'

 fraudulent conduct, as described in the preceding paragraphs. Defendants; through their

affirmative misrepresentations and omissions, actively concealed from Plaintiffs their fraudulent

•scheme to ultimately deny Plaintiffs a .HAMP. modification to foreclose, short sale and/or force

Plaintiff into bankruptcy.

        356.   As such, the running of any statute of limitations has been tolled by reason of

Defendants' affirmative misrepresentations and omissions.

                                             COUNT I
                                         (Common Law Fraud)
       357.    The. allegations in the preceding paragraphs of Plaintiffs' Complaint, are

incorporated herein by reference as if fully set forth herein.

       358.    BOA ,made false statements of fact to Plaintiffs through the fraudulent scheme

described in this Complaint.

       359.    The statements made by BOA to Plaintiffs that required default or delinquency on

his/her mortgage. in order to be eligible for HAMP was false. Neither default nor delinquency

was required under HAMP for eligibility, and BOA was aware of this fact..

       360.    Plaintiffs were falsely informed by BOA employees that their HAMP application

documents were not received, were incomplete or were not current, causing Plaintiffs to resubmit

the infoimation again and again.



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         361.   BOA made false statements of fact and intentional omissions when Plaintiffs were

  informed they were "approved" and requested they make "trial payments."

         362. .BOA employees made these statements with knowledge they were false.

        363. BOA made these statements for the purpose of inducing Plaintiffs to rely on them.

        364: Plaintiffs believed these statements were true, reasonably relied on them, and as a

• result, suffered damages when they refrained from making their regular mortgage payments.

        365. Plaintiffs believed these statements were true; reasonably relied on them, and as a . .

 result, suffered damages when they.unnecessarily sent their HAM? application.and supporting -.....

 information via U. S. Mail, fax, and Federal Express more over and over.

        366. Plaintiffs believed these statements were true, reasonably relied on them, and as a

 result, suffered damages when they made trial payments that were either retained for profit or

 applied to fraudulent inspection fees by BOA.

        367.    As a direct and proximate cause of the knowing misrepresentations and omissions

by BOA described in the Complaint, Plaintiffs suffered damages including but not limited to the

costs for sending their HAM? applications and financial documents on multiple occasions when

BOA had no intention of reviewing it, the loss of time spent sending and re-sending the HAMP

application and financial documents, the loss of their home and the equity in that home, as well

as damage to their credit and the loss of some or all of the funds paid to BOA for trial payments

for which BOA retained for profit after foreclosure.

       368. Due to the intentional omissions, Plaintiffs were unaware their trial payments were

being used to pay fraudulent inspection fees by BOA that were impermissible.

       369. For example, absent a specific finding of need by a local HUD office, the shortest

period between inspections authorized by the HUD servicing guidelines is 25 days:


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                Generally, reimbursement will be limited to one inspection for each 30-
                day cycle. This inspection should not be earlier than 25 days from the last
                inspection or later than 35 days after the last inspection. A distinction must
                be made between those items which are required and those which are
                merely:recommended: Only where a local HUD Office has identified a
                need to inspect more frequently, and has made this a requirement, will a
                mortgagee be reimbursed for these additional inspections. HUD Servicing
                Guidelines, Chapter 9, § 4330.1, 9-9 Inspection, Preservation and
                Protection Requirements, A. Inspections (c)(2)(a).
          370. Further, multiple inspections are only allowed when the mortgaged property is

vacant:

                 Where .the mortgage is in default and the mortgagee has established that
                 the mortgaged property is vacant, mortgagees shall inspect the mortgaged
              . property every 25 to 35 days. HUD Servicing Guidelines, Chapter 9, §
                 4330.1, 9-9 Inspection, Preservation and Protection Requirements, A.
                 Inspections (c).
          371. However, even before a series of inspections may begin, under HUD servicing

guidelines, the mortgage must be in default, and the mortgagee is required to determine the

Plaintiff's home was vacant/abandoned by making a phone call and performing a visual

inspection to ensure the property had become vacant/abandoned:

                When the mortgage is in default and a payment is not received within
                45 days of the due date and efforts to reach the mortgagor or occupant
                at least by telephone have been unsuccessful, the mortgagee must
                perform a visual inspection of the mortgaged property to determine if
                it has become vacant or abandoned: HUD Servicing Guidelines,
                Chapter 9, § 4330.11 9-9 Inspeciion, Preservation and Protection
                Requirements, A. Inspections (a)(1).
       372. BOA conducted inspection after inspection, all while Plaintiffs were living in their

home. Although there is no private cause of action under the Guidelines for the Plaintiffs, these

fees are but one example of the overall fraudulent mortgage servicing scheme BOA has operated

for years and for which Plaintiffs have been victimized.

       373. As a direct and proximate cause of the knowing omissions by BOA described in

the Complaint, Plaintiffs suffered damages in the loss of funds paid to BOA for trial payments

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 for which BOA applied to fraudulent inspection fees and for loss of equity and future equity,

 damage to their credit and reputations and other aetual, general, incidental and consequential

=damages to be proven at trial.

                                            COUNT III        -
                                  (Intentional Misrepresentation)

         374.    The allegations of the preceding and subsequent paragraphs of Plaintiffs'

 Complaint are incorporated herein by reference as if fully set forth herein.

         375.   The representations as alleged herein made intentionally by the Defendant.

        376.    Defendant made these representations without regard for the truth of the

representations, when they knew or should have known that the representations were false.

        377.    Throughout the HAMP process, Defendant intentionally concealed important

information from the Plaintiffs. This was done by BOA by providing gift cards and other

incentives to BOA employees in an effort to ensure they intentionally lied to and misled the

Plaintiffs.

        378.    More specifically, BOA employees intentionally told Plaintiffs they mist be in

default in order to.be eligible for a HAMP modification, in an effort to convince Plaintiffs to stop

making their regular mortgage payments and fall further into default.

        379.    BOA employees intentionally told Plaintiffs they were approved for. TPP when

that was also false and said in an effort to further mislead the Plaintiffs.

        380.    Defendants made the representations intending Plaintiffs to rely on them and

knowing that Plaintiffs would rely on them.

       381.     Plaintiffs could not discover the truth about the condition and true nature of their

modification by exercise of reasonable due diligence.




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        382.       Plaintiffs have been, and .continue to be, directly and indirectly injured and

 damaged as a result of Defendant's intentional misrepresentations concerning their HAMP

 modification application, and have suffered financial loss and loss of equity and future equity,

 damage to •their credit and reputations and other actual, general, incidental and consequential --

 damages to be proven at trial.


                                          COUNT 111
                                      (Promissory Estoppel)
                               . . -                                                                   .•
        383.    The. allegations of the preceding and subsequent paragraphs of Plaintiffs'

Complaint are incorporated herein by reference as if fully set forth herein.

        384.   At all material times, Plaintiffs reasonably relied on the repeated assurances given

by B0A's employees, regarding their eligibility for HAMP, the representation that actual default

was the only way to qualify for HAMP, the receipt of their HAMP application, and their approval

for trial payments as well as the need to make trial payments to obtain a HAMP modification, as

set forth above.

       385.    As a direct result of these assurances by Defendant, and other conduct on its part

to lead Plaintiffs to rely on them, Plaintiffs acted to their substantial detriment in discontinuing

their regular mortgage payments and allowing Plaintiff's mortgage to go into default, repeatedly

sending in their HAMP application, and making trial payments that were ultimately placed in an

unapplied account, as set forth above.

       386.    As a result of the conduct of Defendant, Plaintiffs have suffered damages,

including but not limited to, the foreclosure of their home, trial payments placed in an unapplied

account and not applied to plaintiff's account with BOA, and the costs of repeatedly sending in

their HAMP applications, as set forth above and for loss of equity and future equity, damage to



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 their credit and reputations and other actual, general, incidental and consequential damages to be

 proven at trial.

                                       .     COUNT IV
                                            (Conversion)

          387.      The allegations of the preceding and subsequent paragraphs of Plaintiffs'

 Complaint are incorporated herein by reference as if fully set forth herein.

          388.    As set forth above, Plaintiff tendered trial payments to BOA based on BOA' s false

 assertions that BOA had approved Plaintiff's HAM? application.

         389.    BOA had no intention of applying the trial payments to Plaintiffs' loans or

mortgages.

         390.    Instead, BOA converted and otherwise assumed and exercised ownership of the

Plaintiff's funds sent to BOA as trial payments for its own use rather than rightfully applying it

to Plaintiff's mortgage and loan balance.

         391.    Among other things, BOA wrongfully converted the funds by applying them to

fraudulent inspection fees.

         392.    As a result of the conduct of Defendant, Plaintiffs have suffered actual damages,

including but not limited to the loss of trial payments placed in an tmapplied account, as set forth

above.

                                        • COUNT V
                                       (Unjust Enrichment)

         393. The allegations of the preceding and subsequent paragraphs of Plaintiffs'

Complaint are incorporated herein by reference as if fully set forth herein.

         394.    Plaintiff conferred a benefit on Defendant by tendering trial payments which

Defendant retained.


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         395.    Plaintiff tendered, .and the Defendant retained, the trial payments based on

 Defendant's false claim that it had approved Plaintiff's HAMP application.

         396.    BOA was unjustly enriched by retaining the trial payments and, among other

 things, applying them to fraudulent inspection fees as a false pretense to retain the trial payments

 rather than rightfully applying the trial payments to Plaintiff's mortgage and loan balance • .

        397.     Defendant BOA was also unjustly enriched by using Plaintiffs' HAMP application

 to make false claims for incentive payments to the United State Department of Treasury in the

 amount of $1,000.00 or $2,000.00.             •

        398.    BOA was also unjustly enriched because it benefitted from not granting HAMP

modifications to homeowners. HAMP modifications were purposely favorable to homeowners,

as they included lower interest rates. By wrongfully denying HAMP modifications, DOA was

unjustly enriched by avoiding the conditions of HAMP that were favorable to homeowners.

        399.    Plaintiffs are entitled to actual damages as a result of the unjust enrichment BOA

received in an amount to be proven at trial.

                                          COUNT VI
                     (Violation of the North Carolina Unfair & Deceptive
                           Trade Practices N.C.G.S. § 75-1, el. seq)

       400.     The allegations of the preceding and subsequent paragraphs of Plaintiffs'

Complaint are incorporated herein by reference as if fully set forth herein including the causes of

action listed above'which are per se violations of Chapter 75.

       401.     BOA's business practices are conducted in trade or commerce as defined by the

North Carolina Unfair and Deceptive Trade Practices Act, N.C.G.S. § 75-1, et. Seq.




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        402. Defendant was at all times relevant hereto, engaged in commerce in the State of

 North Carolina by servicing mortgages, including loan modifications under HAMP, from

 Defendant's .principal place of business in the State of North Carolina.

        403. In addition to loan servicing, BOA also regularly solicits loan modifications of. .- •

home mortgage loans from borrowers through millings and customer service calls in, the. State of

North Carolina.

        404. Defendant violated the North Carolina Unfair and Deceptive Trade Practices Act,

N.C. Gen. Stat. §§75-1, et seq.                                                  • •• •




        405. • Under North Carolina law, BOA's methodical scheme to avoid its responsibilities •

under the HAMP Agreement, through instruction and paying its employees incentives to make

knowing material misrepresentations to borrowers to achieve this goal, all in an effort to increase

the BOA's profits is the type of unfair • and unscrupulous behavior which the North Carolina -

Unfair and Deceptive Trade Practices Act seeks to prevent. N.C. Gen.. Stat. §§75-1, et seq.

       406.    BOA's actions, as alleged herein, go beyond any violation of agency directives

that implement HAMP, but encompasses a knowing and willful fraudulent scheme that is likely

to mislead the consumer who is acting reasonably under the circumstances.

       407. All Plaintiffs are a "consumer" as that terni is defmed in N.C. Gen., Stat. §75-50

because they are "natural persons who [have] incurred a debt or alleged debtor for personal . . .

purposes."

       408.   BOA was required to follow the directives under "Servicer Participation

Agreement" which it agreed to and executed with the Federal Government requiring it to "use

reasonable efforts to remove all prohibitions or impediments to its authority, and use reasonable

efforts to obtain all third-party consents and waivers that are required, by contract or in law, in



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 order to effectuate any modification of a mortgage loan under the Program." See section 2A,

 Exhibit 1.

      • 409. •BOA did just the opposite and instituted .a scheme to avoid its responsibilities

-under the •- RAMP Agreement and paid . its employees incentives to make material

 misrepresentations to borrowers to achieve this goal, all in an effort to increase the BOA's profits.

        410. In refusing to follow the directives under the HAMP Agreement, BOA has

 engaged in unconscionable acts or practices and has engaged in unfair or deceptive acts in the

•conduct of its trade and/or commerce in the State of North Carolina. BOA's actions resulted in

material misrdpresentations and omissions to the Plaintiffs.

        411.. The acts and conduct on the part of BOA, all of which was condoned by BOA,

               constitute unfair and deceptive trade practices in that:

                   a. BOA's methodical scheme of dishonest representations to Plaintiffs
                      concerning the receipt of their HAMP loan modification application
                      documents was a deceptive act within the meaning of North Carolina
                      UDTPA as the misrepresentations were deliberate acts to mislead and did
                      in fact mislead Plaintiffs;

                   b. BOA's methodical scheme of dishonest representations to Plaintiffs
                      concerning the receipt of their HAMP loan modification application
                      documents was "unfair" within the meaning of North Carolina UDTPA as
                      the misrepresentations were unethical and unscrupulous;

                   c. BOA's methodical scheme of dishonest representations to Plaintiffs
                      concerning their HAMP application, the purpose of which was to deceive
                      the Federal Government in order to increase the BOA's profits was
                      "unfair" and "deceptive" and in violation of North Carolina UDTPA in that
                      the practice is likely to mislead consumers acting under reasonable
                      circumstances to the consumer's detriment;

                  d. BOA's acts of fraud, intentional misrepresentation, and conversion, as set
                     forth in the preceding causes of action;

                  e. The acts of BOA complained of herein violate public policy, amount to an
                     inequitable assertion of its power and position, are immoral, unethical,


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                           oppressive, unscrupulous, and/or substantially injurious to Plaintiffs and
                           other consumers;

                        f. The acts of BOA complained of herein are unconscionable; and

                       g. The actions of BOA complained of herein were committed willfully. •

         412.        The policies, acts, and practices by BOA alleged herein were intended to result

 and did result in the loss of money for mail, fax, Fed Ex and hand delivery and time spent by

 Plaintiffs in sending applications and financial documents to BOA, when BOA had no intention

 of processing the applications, damage to their credit, the loss of their home and the equity in that .

 home, the loss of future equity in the home as well as the loss of some-or all of the funds paid to

BOA for trial payments for which BOA applied to fraudulent inspection fees, late fees and other

wrongful fees for which BOA applied their trial payments and profited. These losses were a direct

result of BOA's purposeful scheme to deceive the Federal Government in order to increase the

BOA's profits by avoiding the directives and requirements of HAMP.

        413.         Pursuant to N.C. Gen. Stat § 75-16, Plaintiffs are entitled to recover, and herby

request actual damages, general damages, consequential and incidental damages all to be trebled

by operation of law;

        414.         Plaintiffs are further entitled to recover and hereby requests, an award of their

reasonable attorneys' fees and all costs of this action pursuant to N.C. Gen.. Stat § 75-16.1. •

                                         COUNT VII •
               .      (Punitive Damages Pursuant to N.C.G.S. §1D-1 et. seq.)

       415. The allegations of the preceding and subsequent paragraphs of Plaintiffs'

Complaint are incorporated herein by reference as if fully set forth herein.

       416.        The conduct of Defendant BOA was wanton, willful, gross, reckless, malicious,

fraudulent and in complete disregard for the rights of Plaintiffs and others.



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       This the '2A) day of April 2018.



                                  ROBINSON ELLIOTT & SMITH



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Exhibit 2                  Declaration of Rodrigo W. Heinle

Exhibit 3                  Declaration of William E. Wilson

Exhibit 4                  Declaration of Simone Gordon

Exhibit 5                  Declaration of Theresa Terrelonge

Exhibit 6                  Declaration of Steven Cupples

Exhibit 7                  SIGTARP Report

Exhibit 8                  Goldman v. Bank of America, NA, etal., 2013
                           WI 4759649.




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              EXHIBIT NO. 1




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    IN RE BANK OF AMERICA HOME                                    DECLARATION OF
     AFFORDABLE MODIFICATION                                     RODRIGO W. HEINLE .
     PROGRAM (HAMP) LITIGATION




        1, Rodrigo W. Heinle, declare as follows:

 1.    1 am over the age of 18 and lam otherwise competent to testify to the following based •
 on my own personal knowledge.

 2.     From December 2011 through September 2012 1 was employed by Bank of America in
 Charlotte, North Carolina through APC Workforce Solutions, LLC, an employment agency.
 During my employment, I held the title of "Customer Relationship Manager" ("CRM") and was
 under the direct supervision of Bank of America Employees, and in particular, Mr. Jame! •
 Brown. My work primarily involved working with files of homeowners seeking loan
 modifications as part of the Home Affordable Modification Program (HAMP).

 3.      My job included working with homeowners to complete their HAMP modification
 applications and prepare the applications for review by underwriting. In my position as a CRM,
 I was required to use several computer programs. including HomeBase, HomeSaver, AS400, I-
 Portal and Salesforce.

4.     Bank of America employed a common strategy of delaying HAMP applications. Delay
was achieved using tactics including claiming that documents were incomplete and/or missing
when they were not, or simply claiming files were "under review" when they were not.

5.       During my employment. I was instructed by my manager Jamal Brown, to participate in
what Bank of America called a "blitz." Approximately twice a month, Bank of America would
order CRMs and underwriters "clean out" the backlog of HAMP applications by denying any
file in which the financial documents were more than 60 days old. These included files in which
the homeowner provided all required financial documents and fully complied with the terms of
a Trial Period Plan. During a blitz, a single team would decline thousands of modification files
at a time for no reason other than the documents were more than 60 days old.

6.       During my employment. I personally witnessed my manager Jamul Brown, and other
managers and employees physically destroy packages of documents sent by homeowners to our
office via Fed Ex and other means, for their HAMP modification applications. Homeowner
applications were routinely shredded with no review by Bank of America and at times taken
home by managers in order to conceal the fact they had been received by Bank of America.
Shredding of HAMP applications took place using shredders in our offices and via a company
called "Shred It," a third-party vendor of Bank of America. Because these packages were


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                                      Exhibit 2 I Page 1
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                        shredded without review, I have sufficient reason to believe borrower checks, money orders and
                        other forms of payment were shredded along with the HAMP modification applications.

                      7.     During my employment, and hr particular during procedures Bank of America called the
                      "blitz," I was also instructed by my manager Jamal Brown, and other managers, to delete
                      thousands of homeowner RAMP application files from Bank of America computer databases.
                      Upon the instruction of my manager Jamal Brown, and other managers, I deleted thousands of
                      homeowner RAMP application files from Bank of America computer databases, as many as six
                      thousand (6,000) in one day.

                     S.     Employees who challenged or questioned the ethics of Bank of America's practices
                     described herein and the resulting practice of declining mixlifications for false and fraudulent
                     reasons, were often fired.

                     I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
                     AND CORRECT TO THE BEST OF. MY KNOWLEDGE


                     EXECUTED thisa2Alay of February, 2017 at Charlotte, North Carolina                                  •I



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             allowing based on my own rand Inrowladgo.
                            Ftom lime 2010 through August 20121 was employed by Beath of
              Amaricain Chadotta, North Carolina. 1 was first imploycd as an underwriter. kJ*,
              2011.1 was promoted to OM Managernent Town /Amager yawn I sopeevisad a team of
             thirteen employees known Vastomer Relations1.4 Managers" MOW). In both
             posons, my work pdronnly involved =deft with files ofhoencowners waft loan
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             underwrites. Bach underwriter in am Chadolta Imam Izabal a load of approximately
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             times Sur =mai waddosd ihr an underwdtar. It UM IMMO* to toad& and Bank of
              America had a significant backlog of applications for HAW loan morizacatione.
                . • 4.      In July, 2011, Bank of Amedca erested a new dapatmord it termed the
             Vise Management DePadmenr zeaponsc to reports that it was not mating its RAMP




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             team ofthhtnen CIO& I regolady reviewed the film each CII/d was waddle as asivg

             deem& dentin= Mid computer system I also mph* spoke with custom
             ingniciag abontthe ASA oftheir loan modifiadion when alas ware amedated tome.

                    5: • As both rat tmderwdter and as a Case Management Team Managua used

             Beek of Amedca's camptder systems to review Isaias diode in the modification

           • wreak The computer twatems Ingolodyined includd Nomellase, NomeSser,

             A8400J-Portal. LbIA, Lle, and Seib& I pdmargyMeedikandloverand AS460.
             Using these systems, I vas able to fay review tame of beeneawner's Tdal Peddling

             and the Recess est homeovinerbed zmdeigcme to tetrad. I could Manias dui

             payments due finm the homeowner, the &a end ecumat ofeark paynund male. the

             decuments reguestedfirm the hoorgowner, the docamonts provided =dee dates the
             hameowner provided those documents. Ificeedad,I map view the ached using Bank of
             Azeidea's."1-porter system. Basentially, I amid review am borrower% modified:a

             mesas fram the shut to *clime I was reviewing the Me onto oompater system.

                    6.     Prom tiv! Matt °fits participation io MAW, Bank ofAmscioadobsonined

             whether each applicant would receive a Trial Period Plan based on minim fmandal
             doraiimmfation sunk ofAzikeries militate:a each bonowete debt to income ratio
                                                                                        "
             CDTI"), performed the Imp NM Promit Value CNN" test, and detenolned the

             ammmt °fee& borrower's hid papaw bir =viewing documents each as ast num
             pay stubs, bank statements, meditzeparts end other financial informed:a the Imarower

             provided. 13mic of Amodca required KAMP applicant) domment their assets and

             income and 'adduct issue a Thal Period Plan without a knower first providing

             extensive financial documentation. Bank af America did not Issue Thai Period Pions

             based on verbal estimates einem% debt, or asset, at ray tin




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                7.     Though ftanki/America required that applicumb ininediatay wade

         finencial docutnenta— WW1= abort notice, Bank of Anted= allowed these doorman

         to sit for nomlin without ova reviewing them. I regularly mashed calls from

         honicownem and !epode from Clibils stains that the homeownee had sea in documents

         months earlier, often moldpie ens, made payments ender a TdalPalod Plan, baba

         not salmi a paminent modiftealion or wenn decision regarding emir roontication.

         was t'ilde to_ that homeowners badindeed scot in dot:mean and made their

         moms= using the Emu:Sum end AS400 alanots. I was able to 'Many AIM Ms

         damn:ova a:dawdle I-Portal *stem. Than oleatatftank of America von =solely -

         receiving time sensitive financial documents Dom homeowners sceldng RAMP

         modifications and not acting on the documents for moths cos end.

                8.     Bank of America employed a cammonanengy of delaYing BAMP

         application Delay was achieved ming Main including claiming that danmants mem

         incomplete ar miming when they MI6 mt. or sin* claiming the file was "Wm
         mime when ft was not. We were insttncted to claw and then push homeowners to

         accept an Menial reform so the Ihmkofluntaica would met. Once in applicant

         was finally injected Elias km delay, the bank would offe; than an in.bouse alternative.

         Bank of Amerika vandd charge aide= intone gale, origins up to 5%, as compared to

         The 2% if Su:11°2n had beet/modified under HAM?. The unfiNhmate ttuth is that many
         and posaibly moat of these pimple were entitkd to a RAMP loan madification,bm had

         Me chaos bat to accept anion expensive and leas fiwarehle in4tonse modcation.

                9.     Upenjoining the =Ay farmed Case Manegamint Dapartnumt, I begat°
         experience what Rank of Amain termed a "blitz." Approximately twice a month, Batik

         Of Anterioa would order that case managers and undoznitam "glean on?' the baoldog of

         HAMP applications by denying any file in which the financial doauments vans more than
         69 days old. These included files in which the homeowner had provided all required

         financial doom= and fitly congdied with the tenns of a Trial Period Pion.




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           •     10. During a Mk a single teem maid decline between 600 and 1.500                   •

         modificelinn files Midi= for Ea mason other than Odds dorannew varre mpre then' •

         60 daya old. Birk ofAmmion inotrooted its CM, nedmwriters and other employees to

         enter aw that would justify thawing the modification to the Tram Deportment.
         Justilleadions commonly included claiming that thcbomeowner had Med to zerbmi

         requested doom:ma or had fried to melts peyments. biieallty, therejustificatione vane

         mdme. I personally reviewed hundreds ofillooin widrh the oomputer ode= showed
         that tee homeowner led Milled a Thal Period Plan and was entitled to a penniment loan          •
         modification, but was nevertheless declined Liar spanned morefleation during a res.

                11.     On nisny occasions, homeowners who did not reechoes permonem

         modification &stew ware mailed to, ultimately lost their homes to threolosues.
                12. • The delay end rejection prowama within Bao.k of Americo wore '

         methodically ended out under the overall direction of Patdok Keay, a Vice President •

         who meow the entire engem region's ban =Mention precise. Discussions took

         place in meedings, some ofabisdr I attended, in which Mr. gem aollinsd haw catnip

         pacenteges to reduce eb backlog had to be met by certain dates — no Mater vihat.
                13.     Employees who elmllanged or questinad the ethics oflionk ofAmerka's
         moth= of declining modifications fir false and fiendolent reasons vale often fired.

         Mao was an extramsly high lead *hummer in every RAMP related Bank afAMedea
         department lio.rt 1 saw. Employee& vnaked in fear *fleeing theirjobs ifeey celled any of

         Bank of Arierina's practical into vegan.

                14.     /told gopersians tattlers maims were rificalcan and formed

         People who had done everything that Bonk ofAmerion bad asked elm were losing

         their homes to foreclosure because Bonk ofAmmire hod chosen not to hire enough

         underwriters and was exhaling its backlog with updifeal and oven fiandulent methods. I
        •raised these concerns several limos in 2011 and 2012. These peak= did not change.

         Eventually I was flied despite having =reagent performance results.




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



                  .               .   ..    .
                                                              •                    .
    .        . ..                                                 '                    .
      IN MBANK OF AMERICA HOW                    MDL NO. 2193
      AFP'ORDABLE MODTFICATION '
      PROGRAM (RAMP) CONTRACT                                              -
      LITIGATION                                  Conti:Reed before the
                  . t.                          '• Honorable Rva W. Zobd
        .. _
                                           ..
   •' This Document Relates To:                                       .        .
                                                 '
   , AR Actions                                           .

                         MICLAPATION OF Theresa Terrelonen




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          1, Theresa Teneionge, declare as folicmvs:
           1.     I am over the me of 18 andi am otherwise competent to testify to the following
   based on my own personal knowledp.
           2. • From Jane 2009 through June 20101 was employed by iyink of America as a
   "collector." Most of my job consisted of speaking on the telephone with homeowners who were
   calling regarding a loan modificafiontliat they bad applied for as port of Home Affccdable
   Modification Program (RAMP). Myjob could be accurately describe as a loan level servicing
   representative. .
           3.     I regularly reviewed the RAW iequisuments and procedures on the U.S. •
   Triasury Department website (intareakimdmmeaffordable,uov). I did this on my own as Bank
   of America provided no training or infaunationnsgaeing RAMP and I wanted to know what I
   was talking about to ho=ownets calling in. Most, if not all dray colleagues and Every's=
    elld not have suitabletrain
                             ' ing„ edoeftion, or ecipedenee in modifying mortgages, and certainly
    not regarding RAMP requirements and procedures. Loan level service representatives bad to
    undergo some kind of training at least every six weeks. Almost all of these tminings included
    written materials. Most of tbetaining I recall involved the use of systems and other ministerial
    work Bank ofAmerica did not provide me or anyone I knew with training regarding RAMP
    rixpikenients, applicable mortgage or lending laws, or the substance of what we were talking to
    homeowners about.
           4.      In the course dray work, I regularly spoke to homeowners who were inquiring
    about the status of their RAMP loan modal:Idiom I revieweinformation regarding the
    borrower on Bank of Anierica computer systernssuch as HcmurSaver and A5400. These
    computer systems allowed me to view tarns of a Thal Period Plan including anunmts of trial
    payments and the dates they were due, the date and amount of each payment the homeowner
    made to Bank of America, and the date each payment was logged as laving been received. The
    computer systems also snowed me to view the date the borrower had sent each financial




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       document to Bank of Ainerica. If needed, I could also view the actual doetanent the borrower
       had sent;electronically using Bank of America's 1-portal" computer system.
              5.      Although HAMP allowed a ember to issue a Trial Period Plan based on
       "unverified" verbal repreaentations from applicants, this was not Bank of America's practice.
       Throughout the time I worked there in 2089 and 2810, Bank of America determined whether
       applicants would receive a KAMP Trial Period Plan and calculated the amount of the trial
       payment based on the homewards monthly income and other factors including the borrower's
       debt to income ratio. Baal of Ammica also perfomitufthe Net Present Value test that HAMP
       requited before denitTmg whether to issue the bortetver a Thal Period Plan. Bank of America
       calculated the bonoweee debt to income ration and performed the Net Present Value test by
       reviewing financial documents the borrower provided. Bank of America required RAMP
       applicants to datinment their assets and income and would not issue &Trial Period Man without a
       borrowerproviding extensive financial documentation.
               6.     Baled on what I observed, Beek of America was tying In prevent as many •
       homeowners as possible from obtaiaing permanent HAMP loan modifications while leading the '
       public and the government to believe that it was making efforts to comply with HAM?. It was '
       well 'mown among managers and.many employees that the ewer:if:mg goal was to extend as few
       HAMI' loan modifications to homeowners as pomade.
               7.     Much of my job consisted of speaking to people who received HAM? Thal
       PeriOd Pima, made their Vial payments, and who were calling to *tire about the states oftheir
       expected permanent lean modification. Using the Beak of America computer systems! saw that
       hundreds of customers had made their required trial payment] and sent in, the required
       documents, bra had not received permanent modifications.
               B.     My colleagues rid I were called into group meetings with our supervisors on a
       reply basis. The information we received in group meetings showed me that Bank of
       America's deliberate practice was to string homeowners along with no intention'of providing
       permanent modification& We were instructed to Whim every homeowner who called in that




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   their file was "under review" — even where the computer system showed that the file had not
   been accessed in mouths or when the homeowner had been rejected for a modification.
          9. •    My colleagues and I were instructed to infoon homeowners that modification
   documents were not received mitisize, not nweivedat all, or that document were missing. evil)
   when, in het, all documents were received in full and on time. ' •
     .     10. One natio Bask of America used to delay the modification moms involved
   tslling homeowners who applied for iHAM0 modification or who were in a Trial Period Plan to
   resubmit fmancial intimation each time they called to inquire about Xpending modification '
   Bank of America tan treated any change in financial infinmstion as justification for considering
   the homeowner to have restated theHAMP process. Even a small change to Emmett
   infomdion or canceling en enor that Bank of America made will cam Bonk of America to
   restast the al:Okada process under the pretext of changed fmanchd info:math=
           11.    When Bank of America pumbaserkkrans nom other serieers; inchuling when it
   bought the envie* itself— as it cfid with Wilshire Credit, Book of America fixed the
   homeowners to restart the modification process. 'When a homeowner called regarding a
   modification started with another savior, my eo-workros and I were instructed to say that Bank
    of America had no raced of the modification or of the Payments the homeowner akeidy made
   under the modification. We were instructed to make this ststament ems when Bank of
   America's system showed the hoineowners' modification and previous payments, and even when'
   . the system showed that the homeowner had completed the itialprocess with1be previous
    services and should have 'received a pennaneutmodificatkm.
           12.    Bank ofAmerica regularly ignored completed loan modifications end did not treat
   the loan as having been modifier; in its computer system. Even after a homeovmer signed and
    sehoneil modification documents (both trial modifications and permanent modifications), Bank
    of America's system continued to show the loan as delinquent Bank of America continued to
    send delinquency notices, continued to repot homeowners as delinquent to credit reporting




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   agencies, pod pawed foreclosure. Draw multiple instances of people who had lost their honiei
   to foreclosure despite having fulfilled all regal:wants of their Trial Period Plans.
             . 13. When an account or attempted modification was considered "closed" it meant that
   the homeowner would not be receiving a modification and would often be facing collediens or
   foreclosure. The production goals Bank of America placed cm its manes= were based on how
   many accounts they could "close" — maiming how mew homeowners they could reject for the
   loan modifications rather than how many modifications they coultstmeassfidly compkge.
  . . Managers received:bongoes if their teams met or exceeded production goals.
         .     14. Managers, in tom, pushed their production goals on the lord level employees. •
   Employed Were awarded incentives such as $25 In cash, or as a nutmeg gift =dinned on the
   number of accounts they could close in a given day or week —meaning how many applications
    for loth: modcations they could decline.
     .         15.. I personally witnessed employees end =imagers close loan accounts based on
    information that was obviously wrong. This included closing accounts, and declining loin)
    modifications based on the homeowner's faihee to provide certain documents or information
    when, in fact.it Was apparent from the loan file and from the electronic system of record
    (electronic databases including AS4001 HomeSaver, ilemieBase, and others) that the homeowner
                                                                 •
    had provided the very infomndion claimed to be missing.
     .         16. I witnessed sogiloyees and managers thine and falsify information in the •
    systems oirecord, and remove documents from homeawners' files to mate the accomn appear
    ineligible for a loan modification. This included fidsiting eledzonic records so that the =cads
    would no longer show that the homeovaxer had seat in required document or had made required
    payments. This was done so that the file could be dosed, the homeowner's dile to obtain a
    loan modification could be rejected, and the manager could meet Bank of America's predation
    goal for the given week or month
               17.    Bank of America often avoided extending RAMP modifications by sinding =-
    RAMP modifications to homeovones who had applied for a RAMP mortification. These non-




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   flAMP modifications were typically an worse tams for the homeowner than what they were

   eligible to receive under HADA? — but they were at higher interest rates and more profitable for

   Bank of America..1 fielded dozens of galls from holneowners.who had waited moats for a

   HAMP Inocification and were confused, and often in team, when they maimed a modifieetion

   that appeared nothing Wee what they were led to tapect

          18.     Bank ofAmerica used group meetiMs to convoy Plodoodollioals. allottmeots to '
   protocol for speaking to homeowners, adjustment to inforarition we were emptied to give (or

   not give) homeowners, and other intemmtion regardhrg the jobs of loan level zepresenneives.

   These group meetings were conducted by a mumenr. The ago& and itinermY fin the meetings

   were sent to the 'forager via e mailL. The manager, intro; conveyed the information to loan -

   level representatives verbally, but often showed us the B raailhe received with a eccesceY of the

   content he MB supposed to convey lathe meetin& kadditicm to group meetings, loan level

   service representatives received information regrading general policies and procabsra. new
                                                          -
   progrems, and certain clarifications to programs via c mail.

           19.    Throughout my tenure at Bank ofAmerica, lean level servicing representefives

   were constantly being evaluated. We received written evaluations known as "scorecard' an a

   weekly basis via c mail. These scorecards evaluated employees based on criteria including the

   number of customer calls they took each day, the number ofzuhtioec they spent on each call, and -

   whittler they gave the homeowner the mach infranation. Employeesleceived negative              -

   evaluations and negative crnaments if they spent too rauchitime.pn the phone with a particular

   homeowner in an effort to answer their questions or if they gave what Bank of America

   considered to be too much infonnation about The modification *cam

     .     20. Loan level servicingpapresentatives regularly conducted much of their work via e •

   mail and used email extensively both regarding gonad policies and procedures and regarding

   particular loan files. We regularly e marled with supervisors and managers, other &pitmans,

    and customers regarding patio:dor loans. While some information that was Coataine!1 in some of

    the E mails could he zethreted in electronic systems such as AS400, HomeSava, or lionieBese, it




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      Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 150 of 177
               EXHIBIT NO. 6




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.            Case 1:10-ind-021.93-RWZ Dimmest 210-4 Filed 08107113 Page 2 ol 7



                         IN THE UNITED STATES DISTRICT COURT
                          FOR TEE DISTRICT OF MASSACBuszrrs




         IN RE BANK OF AMERICA HOME                 ME% NO. 2193
         AFFORDABLE MODIFICATION
         PROGRAM (KAMP) CONTRACT
         LMGATION                                   Centralized before the
                              _ .
                                                    Honorable Rya W. Zobel

         This Document Relates To:
                                                              •
         All Actions

                                     Declaration of Steven Connie'.




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                                         Exhibit 61 Page 1
    Case 3:18-cv-00288-MOC-DSC Document 1-1 Filed 06/01/18 Page 152 of 177
        Case 1:10-md-02193-RWZ Document t10-4 Filed 0510711; Page g of?




      • I, Steven Cupples, declare as follows:


               1.      I am over the age of 1 rmd I am (otherwise competent to testify to the
        following *seri on my own personal knowledge. '
               2.      I was employed by Bank of America until June, 2012. I worked fin
        Countywide Home Loans as a Loan Originator and a Loan Officer and became a Bank
        of America employee when Bonk of America acquired Countywide.             . '-
               3.      Beginning in 2009, my work involved Bonk of America's efforts to
        modify mortgages under the Home Affordable Modification Program (RAMP). I was
        titled anUnderwriter finuughout that time I was employed by Bank of America. In June,
        20111 was promoted to a Team Leader where I supervised a team of ii to 15.
        underwriters. At various times, rayjob included certain specialsrojects regarding Back
        of America's efforts under HAM?.
               4.      In April, 2009,1 was assigned to a special project in which a team of
        employees identified customers who were in defituk on their mortgage and solicited than
        for internal Beek of America refinances. I worked on this project for approximately five
        motes. .
            • 5.       In September, 20091 was among a team of underwriters to receive
        training to underwrite RAMP loan modifications. This training lasted for a week It
        covered basic underwriting topics such as the documents used to verify Income and balk
        methods to calculate a borrower's monthly income. This training did not cover
        substantive HAMP requirements, or basic information needed to underwrite a RAMP
        application. The other underwriters and! did not receive even basic mining on how to
        use the HAMP waterfall formula, how or when to use the NPV test, the guidelines set out
        In Treasury directives, or other basic aspects of RAMP.




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                   6.     Beginning in September. 2009, my job 'consisted of underwriting RAMP
           loan modifications. I learned the guidelines on thejoh. Underwriters could access
„           document images using Bank of America's Metal document system. However, all
            perlinart informstion was recorded as data points in one of Bank of Amirica's computer
            sySteMS. Using these computer systems, I was able to view virtually all relevant
            information regarding a borrower's loan and loan modification including the modified

            payments due under a Trial Period Plan, the dates payments were due, all doearnents the
            boxroom sent in an effort to obtain a HAIR modification, and all infomndion needed to
            determine whether a borrower was eligible for a HAMP Trial Period plan, and whether
            they fulfilled a Trial Period Plan and should be receiving a permanent loan modification.
                   7.      At the lime I was underwriting loans, it was clear that Bank of America
            had not dedicated sufficient underwriters, at, or wen basic supplies like the pirintem or
            hardware needed to keep up with the volume of RAMP loan modifications. Bank of '

            America executives including Rebecca Mahone, him Berets, and Patricia Pelt& were
            made aware of some ofthe most obvious shortcomings, but Bank of America made=
            substantial effort that I saw to fulfill its obligations under RAMP in anything that could
            be described as a good faith or honest effort.

                   8.      An obvious problem I noticed almost immediately was that Bank of
            Amtiricit had not changed its regular loan servicing programs to account for HAMP. A
            delinquent loan would progress from regular servicing, to collections, loss mitigation, and
            to foreclosure, just as it had before RAMP stated. If Bank of America intended to use
            HAMP to reduce the number of defaults and foreclosures es it claimed, it viould have

          . • inserted HAMP as a mandatory step in the loan servile* program across the board.           •

            Instead, Bank ofAmerica was running HAMP as an ad-hoc, parallel program Loans that
            were eligible to be considaechmder RAMP, and even loans in which the borrowers
            fulfilled Trial Period Plans, were still sent to the foreclosure department. The system




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                                                                                                          .r
        Bank-of America used either made no sense, or was nothing more than an effort to give a '
        false appearance of complying with HAMP requirements when it was not.
        •            9.    From the start, Bank of America determined whether an applicant would
        receive a HAMP Trial Period Plan based on written financial doceimenteden. Bank of
        America calculated each borrowers debit* income ratio, performed the HAMP Net •
        Present Value test, and determined the amount of the trial payments due by reviewing a
        borrower's tax returns, pay stubs, credit reports and other financial doeunonis. Bank of -    "
        America would not issue a Trial Period Plan without a borrower first providing extensive
        fmancial documentation, and it did not issue Trial Period Plum-based-on verbal estimates
        of income, debt, or assets at any time.
                     10.   Bank of America retained outside vendors to manage the documents being          §••
        sent to and received from borrowers applying for HAMP modifications. Urban Lending
        Solutions was one of the vendors tasked to receive and upload finenci0 documents fiom
        borrowers. I quickly realized that if the loan had documents that were sent to Urban,
        those documents would be scattered over various links in tha computer systems. The            •
        documents were present, but they oflen. could not be viewed using a shigle system. An
        underwriter would need to know to gir to other systems such as WORTAT, TWA, LMF,
        or RomuSaver to review documents the borrower bad sent Most underwriters did nit
                                                                                                           t'
        blow that they needed to look for documents in multiple systems and often assumed
        documents had not been seat. As a result, many borrowers were declined loan
        modifications they should have received.
                     11.   For approximately six months hr the first half of:2010, I was pkced an a            A
                                                                                                           A
        special project to help analyze Bank of America's performance under HAMP. This '
        involved generating a variety of reports to measure various facets of Bank of America's
        HAMP processes. Much of this analysis involved trial and error to generate the types of
        reports that would be most useful. Per example, we had reports generated that would
        measure the number of HAMP applications received, number of loans in stages of



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        delinquency, how long loam sal in each stage of the IlAholl process, the number of trial
        payments customers had returned, the number of loans assigned to each underivriter, the
        particular types of documents custom= had been asked to return and the documents they
        had returned, performance by region, department, and by individual employee, and a host
        of other topics. Information could be tracked by region, subject mike, individual loan
        number, and by dozens of other cagoules. I regularly submitted requests to Bank of
        America's offices in Plano, Texas for reports to be' generated regarding any of these
        topics. Typically the reports were returned in a matter oflimus or days depending on
        how busy the Piano office was at a particular time. I found that Bank of America's
        systems captured and stored the dam needed to perform just about any report I could
        think of and was able to genszatn reports quickly by putting all sorts of data Points on
        excel spreadsheets.
               12.     I observed that Bank of Amain reported to the Treasury department and
        made public statements regarding the volume of loans it was successfully modifying, and
        the efforts it was making to catch up with the volume. Often this involved double
        counting laths that were in different stages of the modification process. It also involved
        counting loans that were enfidedto modifications as having been modified only to
        foreclose on those same loans later. It was well. known among Bank of America
        employees that the numbin Bank of America was reporting to the government and to the
        public were simply not true. •
               13.     Employees who challenged or questioned the ethics of Bank of America's
        practice for any reason were often fired. Them WEB en extremely high level of turnover
        in every HAM? related Ea* of America department that I saw. Employees worked in
        far of losing their jobs if they called any of &TIE of America's practices into qamtian.




                                       Exhibit 61 Page 5
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                                          QUARTERLY REPORT TO CONGRESS
                                                       JANUARY 27 2017


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               374
         Criminally Charged
                                                                    269* 192**
                                                                      Convicted                  Sentenced to Prison




                                            Wall Street                                                     Defendants



      88
                                            brokers criminally                                              criminally
                                            charged with                                                    charged with
                                            securities fraud                                                scamming
                                                                                                            homeowners
                                                                               Borrowers
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+ Others                                                                                         Are Implemented
                                                        Recoveries include homeowner relief
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                                                                                      WIMP QUARTERLY REPOiff 70 CONGRESS I Miff 27.2017




 •



15,000 applications and a process rate .of only 2,575 Applications per month,
JPIVIorgan will be rushing to review applications through the September 2017
deadline, which could lead to improper evaluation of homeowner applications."
   One rule that JPMergan has been breaking is the Treasury rule to provide
homeowners the opportunity to re-amortize their mortgage which could lower
their mortgage payment after six years to bring their monthly payment gees down.
Treasury has found that JPMorgan failed to notify homeowners in HAMP that they
were eligible to re-amortize their mortgage and lower their payments.



                              Bank of America.



 : - 700/                                                                    36,632
      a /0                             111,138                               Homeowners fell
                                                                            cat of HAMP (33%1
       Homeowners                      People in HAMP
                                                                            costing taxpayers
     denied for HAMP                    now or before .
                                                                          $129 million
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     Bank of America also has one of the worst track records in HAMP. SIGTARP's
.investigation of Bank ofArnerica defrauding HAMP led to a 2012 Department of
Justice agreement with Bank of America." Treasury found that Bank of America
needed substantial improvement in complying with HAMP's rules in 5 of the last
6 quarters. This should be unacceptable given that Bank of America has already
received about $2 billion from Treasury for HAMP."

• Risk of Waste — Overcharging Treasury: In 2016,Treasmy found that Bank of
  America has overcharged Treasury by hundreds of thousands of dollars found
  In Treasury's sample. Bank of America reported incorrect information about the
  delinquency status of several second liens that were extinguished through the
  HAMP Second lien program, resulting in mom than $400,000 in.wasted tax
  dollars, including almost $150,000 on a single loan. Treasury requested that
  Bank of America perform a lookback analysis to determine whether there were
  other instances of misreporting.
• Wrongfully denying homeowners admission into RAMP: Bank of America
  denied 79% of all who applied for HAMP, Which requires deeper Treasury
  scrutiny on whether Bank of America Is properly evaluating homeowners. In
  the second quarter 2016, Treasury found more instances of Bank of America
  wrongfully denying homeowners for HAMP. With a baeldog of 29,075



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                                    applications and a process rate of only 3,285 applications per month, Bank of
                                    America will be rushing to review applications through the September 2017
                                    deadline, which could lead to improper evaluation of homeowner applications."
                                  • Miscalculation of income: Bank of America has one of the worst track records
                                    of any large servicer on miscalculating homeowner income. Miscalculation can
                                    lead to Bank of America denying a qualified homeowner for RAMP or set a
                                    higher mortgage payment for people in HAMP.
                                  • Risk of waste--Failing to reduce principal despite hying paid by Treasury
                                    to do so: In the HAMP principal reduction program, Treasury pays servicets
                                    typically several thousand tax dollars per loan to reduce the outstanding balance
                                    of underwater mortgages. Treasury found that Bank of America failed to reduce
                                    the principal despite being paid by Treasury about $4,500 on average to do so.
                                    Bank of America did not reduce these homeowners' underwater balances until
                                    Treasury later inquired about the status of these loans, showing the risk of
                                    waste, and the power of oversight.




                                                               Nationstar
                                                                  MORTGAGE


                                                                                                                 58,133
                                                                          209,262                                 Homeowners feB
                                                                                                                out of HAMP 128%)
                                   . Homeowners                           People in HAMP
                                                                                                                 costing taxpayers
                                     denied for HAMP                       now or before
                                                                                                              $168 million
                                   Source: Treasury. 11P Minn IMITIIS•Deceirbs 2016. massed I/19/2011; Tmary, &spoil= to MDR dila cal
                                   I/17/2017; =TARP isiVsls al Denny HMI'


                                      Nationstar also has one of the worst track record in HAMP. Nationscar's
                                  violations of Treasury rules have been widespread spanning multiple quarters.
                                  Nationstar has shown little improvement and, even appears to be getting worse.

                                  • Wrongful denying or fulling to offer homeowners HAMP admission: Of
                                    all large HAMP service's, Nationstar has the worst recent tack record in
                                    wrongfully denying or failing to offer homeowners admission into HAMP.
                                  • Wrongful cancellation of homeowners out cl1111111P: More than 58,000
                                    homeowners whose mortgages are serviced by Nationstar have fallen out
                                    of HAMP, representing taxpayer payments of $168 million to Nationstar.
                                    Nationstar has wrongfully cancelled homeowners out of RAMP. This has
                                    serious consequences, as 47% of homeowners who have fallen out of HAMP
                                    through Nationstar have gone into foreclosure or otherwise lost their homes



                                             Exhibit 71 Page 7
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               EXHIBIT NO. 8




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